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                               TRUE COPY CERTIFICATE
Form C of


STATE OF MICHIGAN,I
      City of Detroit     J

                               CITY CLERK’S OFFICE, DETROIT
                 Jani~e Pl. Winfrey
     I,                                                      , City Clerk~eo~8~oit, in said

State, do hereby certify that the annexed paper is a TRUE COPY OF

adopted (passed) by the City Council at sess:on of
                                                                 October 18.              O1
                                                                                    20

and approved by Mayor                                            October 19.              01



as appears from the Journal of said City Council in the office of the City Clerk of Detroit, aforesaid;
~hat I have compared the same with the original, and the same is a correct transcript therefrom, and of the
whole of such original.

                                                  In Witness Whereof, I have hereunto set my hand
                                                        and a~xed the, ~O~por~te s~a~8~.said City, at
                                                        Detroit this   August        06
                                                        day of                           A.D. 20__




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"I;’i{OM THE JOURNAL OF THE, DE’I’ROIT CITY COUNCILADJOURNED
                                                    -        SESSION
 THURSDAY, OCTOBER I8, 2001




                                                                                   (~).
               oFIDtNANCI= NO. 1~01
                TO AU’n.IORIZE THE
               OF SL%’M~IE IDISPOSAL
             SYSTEM REVENUE BONDS
      An Ordinance to Amend ORIl~mm~ No,
         2/’..88 as Amand~:l end Sul~ple-
         raent~d by Ordlmm~e’ Hb. "r.87
         s43, O¢dh~P,~ He, 31.,6, Ordinance
         I@. l~-r/, Onflnan~e No, 24-97 ~nd
        O~lnance No. ~-~ of the Ol~,
        IDete~nlnlng If C~rtaln Junlor Uen
        ~ Bear l~lere¢~ It a F~xed Rate
        o~’ a Yarlnble Rlta, ~hlnlle th~
       Rme Acmomtf Requlmmen/
       gm of Debt ~ Rm Fund
       ~rety ~ by Amending
       S, anU Io Amend and
       O~lnance No. 27~6.
       Whereas, The C~ Count, (the
     Coundi) of ~ C~/of Detroit,                                                   ~Ma~~~
     adopted ONinanca No. 27-86 (the
     O~]/~ce) o~ December 9. 1986, to pro-
     vk~e I~" the f~nanclng and refinancing of
     ~apit~l Jmprovemenl.s 1o the Sewage
     Disl:x~al Syslem by lhe Issuance of
     Sewage Di~ System Re.~nue Bonds
     ~ Re.hUe Rofund~W Bbnds and Junfor
     ~h~ Ordinan~ ~n ltm~3 Cnca ,~
     ~on in 1 g~6; and
       W~ema~, ~ Coun~ has delerrnJned
    Itmt # ~s/n ~ bed Interest of tJ’,e City to
    amend I~e Ord~.anca ~o as to provide

    role aad to change the Reserv~
    R~quIrem~nt lot Second Uen Bomb,
    amendment to take effi~t upo~ this
    amendato~ ordinance beooming eff~c-

   ¯ ~t It is In |he best Interes| of the City to
   lurther emend the Ordln~ince and to                                             ~d ~lem~
   ~om offic~nt finandngs lf~t reflect ~Jr*
   nm~ mpi’~ mark~ Fec~c~, eliminate
   4:~)sofete prm~Jans and k11egrate lhls
   "one on:rmanca, ~Jch emefldment to lake
    ¯ ff~ot upofl rc~Ivlng oon~nl o! If~ mqul-




                                                                              I~
   emblguoue and defective provlslone


   ~e ~ amount of bond~ Is~ued
   finance capital Improvements to the
   System and can Increase the cx:~ of cap-
   resources to be directly used for b-’y~em

   Hes~rve ,~counts fun~k~d ~dth Bond pro-
   ~4alil~ and ~n result In an ~
   ts needed to pm,~k~ ddot ~ew’~ca pw.
      Whereas, Reserve A~count Surety
   BOn~ Dan re~uff in debl ~arv~ce
   ¯,nd o~er m~’~’nic efltc~nca~: and
      Whereas, I1 is in Ihe beg Interest of
   City and Bondhok~rs lhst the most                                           ~on
   ~.nt u..N I~_ .r~. de of ~e ablll~" to ~                                   Rm
   under me ur01llance mid o~hen#~e use
   ~lp~al resources; er~
     Whereas, Them can be a material
   adverse effe~ on the City
   Bondholders ff ~e abll~/to bonow and
   cap,el resou~es are not u~ effldent~,
                                                                                   date




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                                                                               "Extraordinary" Repair end Replace-
      Seoflon 8, Municipal kJond Ineur-                                      merit Minimum Reclulreme~f’ mea, n~, lor
   ante or other Credit Enhancement.                                         any FbcnWoar, 1112 of ~/. of Ihe budget.
   The Flnence DIrs~or may Obtain munld-
   pal bond Insuranse or ofher crsdlt
   enhancement in re~oect of all or parl of
   ~ Serk~ 1986 Bonds or any
   Bonds which, if obtained shall be provid-                                 mant Reserve Fund ~ny =mount uedltad
   ed for n the resoluflon eub~lortzin9 the sale                             to I~ Improvemant and~ Fund.
   of fhe Series 1986 Bonds or any
  Add~onaJ Bonds. Suc~ maniofpa] I~nd                                       Dlre~’to~ of the P.,~y.
  Irmuranca or other credit enhancement
  may only insure or secure cortaJn Bonds                                   Enhansem~nt, Uquklity F~dllty o~
  and r~ or may not Insure or sec~Jm any
  other series o! Bonds or any p~t themoL
  ¯ ~uch municipal bo~d insurer or olher
  oradl! enhensemanl provider may be                                        Ju~. 1 ~ end~ ~n th~ Iotk~ng Juna.~0
  allotted certain dghta and remedals to
  dlr,eot the proceedings w~ respect fo the                                   q’ledge" m~anl ~ny agreement by
  anmmernenl of plYment of the Bonds
  dzln9 Iha sale ol Ihe Serlee t gSB BOnds or                               tn oonn~oflon w Ih th~ ’mu~rm, of
      The Olty may el any time lulfill b o~lg-
  ellon to lund all or e portion of l~e Bond
  Reserve A~count by ecqulrin9 lot the ~
  eitt of Ihe Bo~d Reserve Account an Irrev-
  cseb~ ~urety bond payable’~m any inter-
  est o~ inlerest and principal payment date
  ofher lunds In ~ Bond Reserve Account,
  equals ~e Bond Resewe RequiremenL
  Before any such surety bond is eubsStutad
  for monay~ o~ applied in I;,eu of moony~
  v~thth the Bond Reserve Account. there
 shall.be filed wSh the Commiss~onare                                         "Hedge Receivable" maan~ any
 an opinion of nalJona, y recogniz~d bond                                   amount mc~lmble by I~ City under a
 counsel to the effect ~at such subst~on
 will not adversely affec~ the lax-exempt
 dsnoe that such sursty bond is ~
 by an thsursnce company i-ated by each
 Ra.ifn9 Agency then mlthg ~ Bonds Io                                       I~’~tedne~’ has 1~ meaning
 Ihe effect rnat it ~ issuers of Ihe surety
 ~ were insuring payme~ of prthcip~
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 nal~on,~ recognized bend counsel to the
 effect IJ~t the ~urety bond is valid emd

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 necessary in orde~ to eequlm such e sure-
 ty bond, to amend Ihls Ontlnance without
 the onnsent of any of the Bon(PnokJem in
    (t) Io provkle that Porky cests shait be
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 secured by a lien o~.Nat Rewnues equal                                                be redeemoo under m
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 ¯ (il) to grant to the Issuer of sud~ surety
bond such addalonel dghts se I~ may                                        Sec~rltlse mqulredio be oalled
request, provided that mJCh i~endrse~
,shall not, in the w~en opinion of nal~
P/recognized bond counsel filed with the
Commissioners, materially Imp~r or
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                                                                           except lot ~ R~’~uex o~ed to
                                                                           Opemt;on k’ld Malnlammce Fund.




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       ’Outstanding’, unless olharwlee provid-
   ed in a Supplemental Action for particular
   Seour/tlea, means, as of any date and
   w~ respect Io Sanudflas o! a particular
   Priorlly, aif Securities o! such Priority         Where I = Inflow~ required by the par-
   delivered under b31s Ordinance except                        llOgler determlnatiort
      (t) Securities ol.a~h Prtortt~ thereto-              0 ¯Outtlow= ~qulred by ~
   k~rs paid or redeemed or acquued by the                      partisuler d~,tarmlnatlo,~ mr
   City and eurrandared to lhe. Tmneler                         the PrfodS’ Ir~o-tod by
   Agsnl for
      (ll) ~eour~lee el such Priority Ihai have              C = Coverage requirement for
   matured or have been duly called tar                         the I:~ler determination
   redemption end tar the payment or                             inr the Pdarify indlceled by
   redampti-n el which amounts together
   with uny unpaid interest," are held by the
                                                                  the anb~,pt
   Trustee or the I~lng Agent for the pay-        and assuming three Pdorfl~0 [1]
                                                  (£] Second and [,~| SRF, Required
   meet thereof;
     (111) Se~urJlles. of such Pflodty that
  1lave been defessed in accordance
  this Ordlnarma or s Supplemental Aoflon;
  and
     (iv) Securities of such Prlorlt~ in                     I~l ~--t~-~ > c.
  exchange for or replacement of which              ¯Reserve Ao~ounff mean= a Reserve
  other Se~urffle~ of such Pdodty have
  bean authenlisaled end delivered pur-
  suant to this Ordinance or s Supp|e-            Redemption Fund and may be reded
  mental
     "Permitted Inveslmant" means, with
 ms~ to any partk~lar amounts, s Legal
 tnvaslment subJe~ to such limitaSons as
 may ha Im/:x:~ by this OrdJnanc~ or
 Supplemental Aof~on for the inveslmenl el        Accounl hu been e’taldl’hed, Ihe
 such amounts,
    "Person" means any natural person,            Se=utlles of such Pdortty then
 ne~h~p, Joint venture, joint-etod~ com-
 pany, munldp=l ~orporeifo~, public body
 or other enid’y, however orpanlzed.
   "Pledged Assets" mean=
   ~)   Net Revenues;
        the ~unds and accounts established
 by or pursuant to this Ordinance except
 for the Opera, an and Maintenance Fund
and Ihe Construofinn Fund and any
 amount thereof;
   ~i) investments of amounts credited to
.a~ fund, account or aubacooonl that Is a
¯ (’~) any ~:orne or gain maiized
.~erdsntthai
          thatam
              suchPledged
                   income orAssets   to
                            gain is nnt
~ Nai Revenue.            =
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 are not Term Sec~o~ and ~uch of
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or other return of c=mital,
   "Prindpal the/ailment Requlremerd"
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m a L;~s,’_.a] year, w~l respect to a Prkxfly     ~ to the Reairing FumL
  stallments ac~ued and unpaid and to             Securities, AncifleW O0tigaflons end
accrue to, and Inc~ding, the les/day of
such mo~th (assuming that prtrw.tpal                ~dtlea" +m~ana at} Senior Uan
a ~e=" of 360 days) on Outalandthg                  "-’-’-’-’-’-’-’-’-’~enior Uen Bonds" means all
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  "Prk~ means, with respect to any
parfJcuisr Secured Oblige/Jan, elf other
Secored Obligations having a lien on
Pledged ~et~ ca. a parity w~. such                             und |r~talln~nt RequlremenP
                                                  rnean=, ,,,~lth ~pec| to a Pdodty of Term
recognized statl~cal rating organlzatio~
as defined in Rule 15¢3-1 of ~e United            Manoalory Radamptl~ Requlreme~tle
Stptea ~ecurifles and Exchange .                  next uomlng du~ in ~ RP..al Year,
Commission.                                       Including any Mandatory Radempllon
City’s repayment obligations under a              Term Secudty ~ the ameunis credited
Finar~lai Facility, and d~es nat k~uda            to such Mandatory ~ Require-
..~o obligation to pay fees end expenses In
me ordinan/course of the Irencecifon.             or purct.-e of m:h Term S~cud|lea,
   "Registry" ha~ the meaning given thai            ~3RF Junior Lien Sends’~ means
le~ In Section 3.
   "Required Combined CoOperage"                  of pnwk/Ing Improvements to the System
means, for two or more Pdort~ea for wh~’n         under the’-qtala’s Ravot~n~ Fund.
’ delsrmtnail~n is to b~ made, ~mt (I) the
reeull produced by dividing th’e
inflows by the prescribed o~lo,,w, kzr the
highest Priority required.for such determh
nation and performing the same calcula.
lion. for each eu~,esslvely lower Pflor~
-,no expanding the dlylanr In each
instance by the ~um of the outflow~ for
eu~h Pdorty and each higher Pdorfty
equa/$ or exceed~ (11) Ibe ~ovm’age
requlremenl for Ihe Io~est Pdorlty in




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      (o) Variable Rate Saou’ritlaa.                   fit of ~rodti Enhancement, then the rating
      (1) I! Varfab~e Rate Seou~es have                category of such 8eeurlliea ~hall I~ the
   been Outstanding Ior b~ than a hJII                 raUng oalegary ~ the benefit of Credit
   Race] year m the date of cafoulation,               ~nhan~emenl,
   /hen the Irdemsl rote or~ ~u~h Vadsbis                  "Tender Sec~fltiss" moans Seauritiea
   Rate Se~-~urltles ahall be calculated ~e
   125% of the average of ~ Bo~d Mark, el
                                                       ~  af.are. eub/ect Io op41ocal or mandatory
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   Association (BMA) Mua~pal Index for the"           Se~ut/ly
                                                          "Varfi~te
   ~ year period ending not more than o~e                         thatRute
                                                                      I~ notSecurity" maane any
                                                                             a Fb~ed Rate
  week belcm 1ha date Of such calculation,                Section 3, Aulhorb~tl~n and le-
     (2) I! Variable Rate ~enurltlae have             au~. nc~ of ~udtJ~z| Related Mattarl,
  pean Outstanding for ene or more |uti                  (~ AOlhorlz~tlo~ of
  FI~ Yelm on the date Of caisuJlUan,
  then the Interes~ rate an audl Vadabie                            of Ooun~l ~18~oplementai
  Rale 8eCur~ea shaft ha calculated as
  125% of the annuallzed average daily rote
  borne ~ such Vedable Rate Secud~es for             i~.(b) I~ulng .S~url~ The Rnanca
                                                       ~e s,u~. aouo~s as are neoeesa.~ or
                                                     appropriate to gk, e efk~ to th~ trans-
      (S) Nolwlthstmd~ng paregmphs (1)
   ar~l {2). for Ihe pu~ooee of detemnlnlng           u’,tK)r~ the ~ Of Secure, or
   th~ Resewe Requirement for * Pdedty of            ee am I~’~dent~d ~
   Sec~rttiee, the interest rote on Variable           (~) LMbYlty Llml~d. NI ~ovenanlso
   Rate ,S~rities shall be not adjusted after        agreemanis and ct~Igaltons of lhe City
   the date of Initial Isstmnca.
   tbte(d)foRxed  Rofw
            Veritable     Securi#e~ Co~verf-
                       Rate                          Secured O~. igal~ am ~oso of Ihe GIty
                                                     aria not o!~ any men’d~ro officer or
      If S~’udBes are ~ssued as F’~ed Rate
  Securities but are intended to convert by
  ¯ eir fomlS to Variable Rate Secu~tles
  during a future Rscaf Year and a ca~ula-
  ~on is made for inch future Rscal Year or         un~.r ag~r~l ~y member, offset or
  any FIsc~ year theraaltor, e~n the F’mc~          _employee Of the C]ly or ~ny ~lur~l
  Year of corwe~i~ ~ be ]P,e F~ca~ Year             reraon e~eouUng or
  ¯ ~t such Secoifiies are Outstanding for
 the pulpcae of cabutatJng interest at a               (d) Execuflon, AufhenUcatlon and
 vedable
     (a) Other L~t/n/t/on¢.                            (f) S~,udt~ ~h~ti be axeouted
     "BMA Mmedal Index" means the index
 be.sad upo~ the weeldy Ifltere~’t rates of             a ot me Mayor and the Flnance
 .tJ~.exempt variable rate Issue~ included          D|rector ~Id ~ hmm a fa~slmtle af the
 .m. z ~aba~ malrdalned by Munld~l
 Mark~ Data, Boston, ~chu~e~, a
    Its suc~, whkh meet specific cd-


                                                    deismS_to the Tran~r AOe~t by the
 issued contemporaneously with each                m me purofu~or(s) b acco~u~e w~
 olz~er b order to produce a s~ngb fixed
 late. In order t~ c~.~s~tute "Counterpad          ~pon. p,.’~nee! of ~ pu,"~sse price
                                                    ,~,’mm~o~ tn..~ with the bld or pur.
 Outetanding et ~e ~ame" I~me.
   "lExduded Tender Seoudties" means~,
 ¢bp Teeder Secu~ ~hal b~e C~ ls r~
    I~ated to purchase under any ~Jm-              ~ary’, be delivered to Ihe Tranafer Agent for

                                                   Concarranw
                                                     (a) Reg..ryewith
                                                                  Account
                                                                      the RequlrernmlL
                                                                          bsuance of
                                                   Secarlg~. of ¯ Pdodty for w~lch
has pro’~Kl a uqifidlty Fscifityo                  Re~n~e Amount I~M be~n ~r is
mm uaara l~tereet at a rata that has ~
~ fo~ at isa~t a ~Pyear pedod that                added to ~e emeu~t en depo~ mere~ o
includes al/of ~e Fisc~ Yeas for which a          c_r~.ed mereto, equa~ Iha ’Reserve

   ~) ffthe Fiscal Year for v,41ic~ a cak~
inded.es o~_ly ~ porlJon of such five year
pedoo, a uecud~/is also ,el "Fixed Rate
    (~ A rote b f~ed for purposes of deter-
mlntng whether a ~e~:nJrity is a ~
Rate Secudt,/’ If the e<x~o~lc effect of a        b.(f) z~l amain( e~..u~ to the a~ued
Security bearing inland( at S fixed rate is
produced by a Qualified Hedge or by               Internal and nedemptfo~ Fur~l for
uounlezpart Secarltk~
   (111) A rate is not fixed for purposes Of
det.ermlnlng whether a Security is a "Rxod          (2) If a Reserve A~ourd h. been or is
Ram S~cudty" if ~ econo~k: eff~ of a
Security beadng interest at a ~adabis rate
is p.~..redu~:l by a Qualified Hedge,            n~mry fo eornply with ~ub~:~o~ (el
   ~ua~Jed Hedge" meane a Hed~ w~th              ~..lell zuc~ compliance wll be obis)ned
a counlarpady thai Ii rated dtrac’dy or          wan w~ounifi ram s different source,
Indireof~/by a Rating Agency tn e rating          b(3) The ~. ~mca of e~ proceed~
catef~c,p/at least equal to the catego~ in ’,      a appllao    ~ pray   dad In the
whP.h the subject 5ecurifiee are rated           Supplemanlil Aofton ~provldlng for the
without benefit of Crad)t Enhancement            I~uanoe of euch
and. without reisrenca to qualifications            (g) Ttanefw. ~.
                                                 ~eeurlftl~        of Reolatr~tlon
                                                                       ......... of
suc~ as "plus" or ’minus’, If the eub}ect
Securities ere not rated wtthout the bane-         (1) MMntananoe...of Book$~..Eeoh ’
                                                 ~e
                                                 m~fer
                                                   , af ~anl ~h~ll keep
                                                        ~ p~thofp~d      or cau~
                                                                     africa,       to be
                                                                             euffl~ant
                                                 books for the regbtretl~ end tmr~fer of
                                                 Tnlns’~r Agent (the "R~/sir.~) wh.~h
                                                 ah,,~l at all t~me~ be ~ to In.~lon I~,
                                                 ~ c~,                      .             ’

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                                                                               which would ofhandse have been made
                                S~tlon 6. Plyment of S~=~red                   by I~ 01ty ~all I~ d~m~d to be 8 pay.
                              Obligation; BubordlmtHon.                        mant
                                (a) GanerellF Secured Obligations
                              are hal genoza~ ~Igstione of ~he C~ and
                              ahall be payebl~ ~lelly from PkkJ~d
                                (1) AnoHlarY Oblation FNe and                  R~.
                              F-xpen~a are payabie Imm Re~ebu~                  (a)
                              and, to Ihe extent o~ any In~ufitdency,
                              Pledged
                                (2) Nt Se~ud~ e~ And~ary
                             uon~ ~/~ Pledged ,e~.~ts.
                               O) Whenever any pdnd~pal (and pro-
                             alum, If any) of and Mlore~l on ~ecudlh~
                             of a Pdorliy .~ any paymanl on I~.
                             Ancillary ObflgaUona rebt~d to eucn
                             SeoudtJoa (any of (tle Ioreoolng
                             due, ~ben until mJch pnymant b made o~
                             the ~atts~d~on el ~ HokUm ~ m~ch
                              ~anurlllee and the obllgeea of such
                             ~dll~ty Obllgalior~ no Payment shall be
                             made dlrec~ or Indlre, c~ on or In moped         ~ ~) ~’~m ¯ ~ ~uA ~ ~t
                             Of any ~dties el tower Priority or any
                             Ancfllmy Obllgatlon= related to
                             ,~Jrlli~ ¢d kwmr Pdorllle= (ouch

                                                                              ~,~r~~ ~-
                                                                              ~~~of~e
                             Securities.
                               (2) SubJec~ to the payment In full of a~J        (c)

                             every higher Priority (c~llecth~ly, Ibe
                             and obliges-, thereof, Iha "~uper/or



                             amouof~ owing On the Suboldlnalod

                             emn Supedor Ot~ee= end

                             beam made to Subordinated Obllge~             . ~r~~.
                             ehall be deemed to be 8 pay~3nt by I~e
                             City on account of Superior Obligations, It       ~ ~. ~1~ and R~l=ln¢
                             ~olely lot the pu~ Of defining the
                                                                               to~in~
                            ¯ ~’~e o~er hand.
                                ($) Except as othera~e provided In a
                              Suppk|mantal Actkm, the City may agree
                             Pdodty and Ihe ob~ee of amy elated              ~~~                         110"’
                                                                             SRF ~.~ ~                   t~.
                                                                             ~P~ to or
                             Se~ufltles o~" such related
                             any such Holders or obligees


                            o.r .o~..unt. of ~e Hol_dfm, of a,ny
                            ~e~Jrmea m ,~ly lower .Pnomy ~ tire
                            obllgeea anger ~ ~’olatod Ancillary

                              (4) .Nothing In It~ eubsec~:m


                              (c) Financial FadJltles. Exoepl ~e            gma~r ~ ,
                            o|ha~vbe provided In a Supplemental
                            Aclk~: .
                              (1) NoOtlng in ~ Section shall
                            the paymerd of Securities from any
                            F’manclal Fadllty oOla~d for I~ benefit
                                                                            . (ll)to
                              (2.) Np payment of an amount made by
                            a orawmg or dleburaemant under
                            Rnanclal Facility to Holdam of Securilk~a         (1~ to p~e
                                                                            ~alntenan~




                                                                              (2) ~

                                                                                  o ~ am ~ I~t~

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                           ¯ SRF Junior Uen Bend Interest and          FuBn~?Perktlon lind Malntansnua
                        ¯ R~emp~)n Fund
                           ¯ SRF. Junior Lien Dabl Be~’tGe             MAmount I~ the" Op~ratlcn and
                         Account
                                                                       a~ of ~ S~m (~u~g
                         A~nt~e~                    ._.
                          . ~mordlnaw

                                                                                                   to
                         fished ~r o~er P~
                         ~enml
                           B. ~ of Fun~.
                         lectsd end omdll~ to ~a Re~lvlng
                         ~oun~ ~lled ~ ~ R~g Puns




                         add~ to
                                                                       To~ ~~
                         SIWI~ Instalment Requkement br

                             ~i~: to the Senior L~n Bond
                                                                       ~ p~.~ s~


                                                                        R~emp~n R~e~nl ~ Tern
                                                                        R~e~n R~ulre~
                            de~Ing emir ~ P~d~_~_ and

                                                                        R~ R~)




                            of the ~moNi~w Re~lr and                    ~es to ~ ~ee~
                                                                        ~atow m~mp~n ~




                            Rep~nt ~m~ R~lpment
                                                                          (c) ~~q~      ...
                                                                          (1)


                            Raper ~ R~=~me~t R~e Fu~                     ~e Pdorl~ for ~ ~ Re~


                                                                         de~ I~ or credited to
                              (s) ~oun~ ~ th~ R~sMng Funs
                                                                         meal ~r such Re¢a~ A~unl, the
                             S~lon 12.                                   ~nt ~ ~ ~= may
                                                                         ~ned ~eref~ and or~lt~

                             Fund,              ¯




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           (3) No alrther p.,yments need he made
       thlo an Intsreel andRademplidn Fund In                                           ¯ (d) Whenever any amount on
       respnc~ of prln~Ipel and Internal after                                        ,in the Rate Slablllzall~ Fund 1~ tak~ into
       enough of the Securities for whkth suoh
       Fund was est~llshed have bean muted
      so that the amount then held In
                                                                                       i~esa
                                                                                        ocount k~’ ,,ny C, ovemge Determlnalto~
                                                                                            "Re~n, ed Amount~, then"
                                                                                            r~ed Amount sh~l t~ ored~ed to
                                                                                       R,..m~Nk~ F~rKI k)r the Fk~,al Year for
      Fund. Including the Reserve Account
      therein, if any, ts equal to the entire
      amount of pdno~pal and IntereSt ~n~
      be payable el [he llme of maturE,/of all                                          (e) Prtor tO the tranefer of any
      the Ihan C)utstsndlng Saturates of such                                         .R--.e_r2~ ~nt to ~e P,a~eM~ Fu.o,
      Prtorffy.
          (4) A seperale Reserve Accounl may                                          or ~ to Iny porpo~ ex~pt pure
     be established tar an issue of Saourlliee                                        p~emt to ~ 17 ~ theft ordy after ,,q
     by the Supplements/Ac~on prOviding ~or                                           ofh~r amounts then In the Rate Stabl~za-
     the issuance of such Snour~flee,                                                 ~ Fu~! have ~ applied pu~u~t to
         (I) Se0uflflee having the benefll of such
    Reserve Account mw be L~zued bul only                                               (f) Amounts o~ dapoell In Iha Rm
    if eu~ separate Reserve Account al fully                                          $1abll[,~lfu~ Fond other ~ Re.fred
    equal to the Resawe Requlremenl for
    euoh Secuntlas ¢oncurrenlty with the                                              purpoe~ of th~
    issuance.of suoh
         (ill The amounts to be paid thlo any                                                    unt~ In th~ Ieveral ’lunde,
   separate Reserve Account Io restore it to
   Its Rese~/e Requirement shall be made                                              PUmUarff to th~ OrdLqans~ ~t be ~pI in
   on a parity with payments into all other
   Resewe A~counts established for the
   same Pderity of Snountlae and shall not
   exceed, in any ~ Year, ~ pmponto~
                                                                                     ~ e.~o,n~p. ac~o~ll ~g~amte a~d apart

   ate defl~ payment, "Preporlionate’Defl~                                           me ~nnar ann at the tl~ prov~ In
   Payment’ means for a separale Resarve
   Account the same proponton that the
   a~aunt available to remedy deficifs In                                             ¯ (b)Amountz in the Interest .and
   each Resawe Account for such Priority                                             Redempt~n Fund for z Priority of
   bears to the aggregate deficit in all
   Reserve Accounts for such Priority.
        D. Extraordl~W Repair and
   placement Reserve          Fund.                                                    ICl ~na ~po~ of edl f~nd~ and
        (a) Amounts rosy be used to pay the
  costs Of making major unanticipated
  repairs and replacements to the System
  which Individually have o~ or are tea-
  sonab~ expected .to cost In excess of
  $1,000,000 as dmerm|ned by Ihe                                                       is) ¯ wn~untz in t~ ~ Fund
     (b) On and alter I~e flint day of eacfl
   Fiscal Year. It~ Fin~ce Direclor may, by                                         .r.eq, ul.remerdl_ of I~e Ol~rotkm
  Supplemental Action, transfer to the
  Improvement and Ex|enston Fund not                                                Acoour
  more than 50% to aggregate of the bale
    Flsc=l year if, bur Italy ff (i) in the menth of
    sech kansfer I~e full amount of the                                             HepzaCement Rnaerve Fu~l ohaft be
    ...E~m. ontlnew Repair and Replacement                                          crab/ted or tran~ennd, flm~ to
    Minimum Requirement for sech prior                                              Opera,on and ~ RJnd and
   mo~lh in the ~rrent Fi~:al Year has bsen
   credifed to thts Foml and (~ the amounts
   of sit pdor b’ansfem from His Fund to the
   improvement and Extension Fund
   been msthmd In full
       F. Improvement and Extension                                                           ,-.....- (z~l r~emp6o~
   Fun~                                                                             prem~Umo if any) of or bltam~t
       The implo~merd and Extenslorl Fund                                           N~cem~j umlgallo~ be~o~e due
   shall be used for improvements, enlarge-                                         (whether o~ a elated er ad",~dobd d~de,
   m~nts, extensions or betterrne~ to the
  System.
       F. Surplus Fund.                                                                 ¯ PaYme~ ~cof In It~ Irdemof a~d
       Amounts Irom lime to time on hand In
  C~omm       e Su.rplus Fund m,ay, al the up,on of the
            ~nlm,    be’used =d ~pptl~l for
  ~y puq0oee~ mlat~l to ~ System; pro-
  v/deal, h~,~r, that if and whenever
  there should be an), deficit In Ibe
  Opamiten and M~in~nanoe Fund or in
  any Interest end Redemption Fund
  (including any Reserve Account therein)
  then transfers shall be made from the                                            Priority ~ pro~d~g aer’,alka In
  Surplus Fund :1o such funds in the priority
  and order named in Section 12 to the
  exlset of a~y such dentil
      Sec~on 14o Con~tn~,tlon Fund.                                                  (~) P~rm~ed/m,~,mmn~.. The P~-.
       (a) Them shall be established and                                           mlifed Investments for m~)unl~ held
 maintained a sapamle depository fond                                              under thts Ordinanc~ are the
 designated the Construclfon Fund. The
 City may deslgnete separate accounts in
 the Constmcllon Fund for different nodes                                           (1) Im~.slmenl of ~u~ ~
 of ~-’Urllies for adminlstml~,e purposes
 end to belier enable the City to comply
 ~ its tax covenants In Supplemental
 Aclions or resolutions regard ng he
 ~rXOluelon from federal thc~me I~¢ltfon of
                                                                                    (2) .~ u ~ ~ln p~

                                                                                  ~u~r~, ~( ~ ~ ~11~
                                                                                  ~armg mafuri~ ~I~ or ~bje~ fo
                                                                                  me~, ~ ~t~ ~ ~ ~ ~




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                               equal ullllty and efficiency so thai the
                               value and efllden~y of the System shall at
                               ell tlmee be fully mahlained,
                                  (c) Book= ~d Reoo~d~. The City will           (e) In the event tt~ requlrea peroenl.
                               maintain end keep profmr book= of record       =age of ~e~udtyttok~m ghall dire= the
                               and aooounl leplratl h’om =il other            Tmat~ in ,mttt~ le ~rda~ o~ ~r n~
                               ma~ full InO on~t antd~ of ~I                  ~_f ..~ mm~= ep~lf~d le ~l.i.
                               a,~fune relaifno to the System, and the
                               CI~ will also cauee an annual audfl of
                               such books and reco~ for the preceding
                               Rscal Year. The City will make =mob            ~18 O~lnnn~ unl~ and unlll ~
                               available to the Holder of any
                               upon request.
                                 (d) Ol#pas~ea m’ ~,etem. 1ha City
                               wiW not asll, lease or dispose of the
                               System .or. any s=bstantlal part thereof
                               until a, Otdstanding Securities h~e beam
                              paid in lull as to both principal end
                              interest.
                                 (1) This ~,,enant ehafl not be con-         ~ ~ P~ ~ ~ ~r
                              of any property compd=JnO part of              ~ ~ C~ ~ ~ ~md W al~n m
                               appropriate, required ka" the use e4, or
                              pro~ to the System, or u,hk:h Is no
                              ranger necesav/to the pmpgrty ~..                (a) ~ m ~m..
                              llofl Ifld mlinll~lfl~l thirl~, #r whkth

                                (2) Pa~-aph (1) atmU not be

                              o! the System.


                             System end appurtenances thereto as the
                             Commlssionem determine neces~ry for
                             ~ System.
                               (e) No comp~t/~o~ 1~ C~ wlU not,

                             pose] system ~ will compete w~ the              ~ of I~=
                             System,
                               (f) T~x ExempUo~ of SacorI~M. The
                             City wlfl tzdra a~ act~ end m~ born             ~ ~ I~ 11o
                                                                             SRF ~ ~ ~
                              g =ny ~t~ to t~ unl~l e~m

                             ¯ ~n ol the l~larasl o~ l~eurlll~l Mued
                             erzd end Stale of Ml~lgan Irv:ome

                                (e) The City ~udl at all Iknee matnta~n
                             ¯ Trustee in order to further aseure
                             merits, duties and ot~gaHons of the City
                             with ~ect to the System and the
                             S~¢urltiee and to perfoan such other
                             duties as mw be provided in
                             such add~onat dut~ shah be imposed

                             any legal proceedlng~ lhat may be              ¯ R~



                            Iha TnJ~ea ~or =~ch ~oat= ~d expan~
                            su~ Securit~nalder=, or both, = the case        ~ounm ~dm~ from be ~
                            maybe, In the timt In.race ~rom Ihe Net
                            Rwenua~ remaining. In the rno~th d pay-         ~M~ Repair ~ Rop~I
                            ~ a.ner maldng tha trim=fats and
                            ~mreat and Redem~ Fu,ds (Including
                            Ibe Reserve A~=bunt, if any. therein), and,
                            to the exlent thai suti~ au~ounts are
                            ,or avallal~ h~n the Revenue~ therefor.         A~ S~u~ m ~. o~er


                             ~erefor wHh interest ~t the rote o~ 7% per
                             annum from Ihn ft~ Nat Revenuee
                            remaining, In the mo~th ,2 re~n~ma-
                            ~ee~t after (I) m~ldng tt~ tmn=fe~ ~nd
                            Interest ..’al~ ede~t~’M~ FL~Is ~lndadlrrg
                            (ll) pwlng ~he TtuMee at Se~dlyholdem
                            a~ provkJed In euboe~inn (b).
                               (d) ~ Tnmtae k~ authorized to ~ in
                            reliance upon the mdfldendes,
                            ne~, g~nulnene~l or validity of
                            hmtrun~nl or document Or oth~. wdtlng
                            eubmltied to fl hereunder and ~hall have

                            error In )z~gment or any ao~ done or
                            t..ed by It In gor~ ~h, th If~. even~ of a~

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    ~o  ’uritlea,/f, b~ only’if, the.re is ..R.equlr.ed
        mbined Coverage unosr e~er ms
    Proleofed Nel Revenues Te~ contained in
    aub,=antlea (b) or the Hletoridal Net
    Revenues Test contained in aubsentinn
    (e), "l~s detei’mthetton In ~ Supplemental
    A~tisn Ihet there will be Required
    ~fC~soblnad      Coverage
          ch Additional           upon shall
                          Seaudllae      the bsua,  n~
                                               be cor~
   elusive.
      (b) ProJecledNef Revenu~ T~. For
   purposes of dalerminlng the Required
   Coverage Requlremenl, the Inlfow~ ere
   the proJe0ted Net Revenues of the
   Ry~lern for the then aurrenl or the next
   eu~x~fing Recal Year and the
   are the maximum composite Annual De~t
   8en,~e In any Rsuof Year on Outstanding
   Secures and the Ad~itional Sequ. ~es to

    i~(1)
        udsProjanted
            100% of theNet Rm/enuea ,may
                        eatirneted
    Net Revenues to acorns as a me,.lit of the
    asquislt[on of the repairs, extensions.
    enlargements and tmpmyemont~ to the
    System ta be paid ~r in whole or in ~zrt
  ~om the proceeds of the Additional
   Ssuurfltas.
      (2) In p~ecting Net Revenues. the
   City shag engage the sendcea of and be
   guided by a consultant of na6onaJ reputa-
   tion for advising muni,~ipalltiea with
   reepe~ to setting mtaa and chmging k~"
   the usa of ~nge diet:meet systems.
      (c) Hl~torl~! IV~t R~ T~ For
  ~pe~rs~ of    determiningthe
               Requirement,    theInflows
                                    Requiredam
  1he actual Net Revenue~ of the System for
  the immediately preceding audited F’Jsca]
  Year and the Ouf~:~s am ttw ma~drnum
  future fiscal Year on Outstanding
  Ssuuri~as ~ld the Addlt]onet
    (1) Instead of the immedlale~ preced-
  Ing audited Fiscal Year, the City may u~
 any audited Fbcet Year e.eding not morn
 than sixtee~ monff~ prior to the date of




¯ for the particular preceding ~ Year
  shall be augmented by an amount reflect-
  Ing the effect of soch change had the
  System~ bilEng~ during such Ftocal Year
  been at g~e ~ retd.
    (3) Nat R~enues for th~
  preceding euCited FIs~alYeer a~o mw be
  .augmented’by 100% of fi~e aslimated
  mcreas~ in Net Revenues k~ accn~ as
  resuit of the acqui~on of ~e rep~rs,
  extensive, enle~gem~nl= and
  manta to the System to be p~l for In
 AddBonal S~Jrlties 100~ of any acquk
 made subsequent to the end of the
 t;cutar preceding aud’ded Fmcet Yea~.
    (4) With repent to augman~on of

 comu~.’mt of national mpntoflon ~. edvb-
 Ing mun~dpa~itta= wfth ~ to setting
 retse asd chmges for the use of sewage
 dlsposet systems regarding the e=~lonce

  (5).,~. ited ~nasc~ etatamerrls may
 ~eeve
   re~idd upon n no augmentation of Net
     nuse is required.
   IZ Detd ~n4ce ReducUon ~ An
 Addlffo~l Maane of Rof~ndta~.
  p~oflty (herein, "_AddN/ona/ ,Sacun~,~
 wnnom regard to ~ 21C for refund-
 Ing all or part o! Sacurttlue then
 Out~a_ndlng and paying corn of Isuulng
 the Hefundlng 8eouritiea, Inaludlng
 depos~ wh~ may be reade to arp/
 Reserve Account eatal:~iehed or In be
 established for such Addl6onal Secudtiss
 or any other Secu~ek.~. but
coming due in the cunent Fl~a~ Year end
each Fiscal Year thereafter until matudly
~.(A) the. Additional 8eaurlges ~nd (B)
gwmg effect to the refunding, all
Outslending unrelunded 8ecurit es of
equal and higher Priority/~/ass
  (2) the combined Annual De~ 8ervlco
~xnlng due In the cun’enl Fiscal Year and
each Fiscal Ycar thereafter untl maturity
on ell equal and higher Pdoflty 8eau~is~,
w~out gM~g effect Io the refunding,
13-53846-tjt                          Doc 6644-1          Filed 08/11/14   Entered 08/11/14 22:07:17   Page 86 of 98
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                                 EXHIBIT 12




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                                 TRUE COPY CERTIFICATE
Form g~ of D~-16-CI~


STATE OF 1VHCHIGAN,

      City of Detroit

                                CITY CLERK’S OFFICE, DETROIT

            Jackie L. Currie                                    , City Clerk of the City of Detroit, in said

State, do hereby certify that the annexed paper is a TRUE COPY OF         l~esolution

adopted (passed) by the City Council at session of
                                          January 26,                                   2005
and approved by Mayor
                                          February 1 ,
                                                                                        2005

as appears from the Journal of said City Council m the office of the City Clerk of Detroit, aforesaid;
that I have compared the same with the original, and the same is a correct transcript therefrom, and of the
whole of such original

                                                     In Witness Whereof, I have hereunto set my hand
                                                         and affLxed the corporate seal of said City, at

                                                         Detroit, this   2.3rd




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                  DETROIT CITY COUNCIL ORDINANCE ADOPTED ON JANUARY 26, 2005
                   AND APPROVED BY THE MAYOR’S OFFICE ON FEBRUARY 1,2005
                   PRINTED IN THE DETROIT LEGAL NEWS DATED FEBRUARY 7, 2005
                                                                                                                         from the Extraordinary Repair "arid ,,
            Ordinance No. 01-05                             ty or other agreement.intended’to protect."                  Replace,rnent Re_serve Fund foVpayin~j’a:.i;.
AN ORDINANCE to Amend and Restate                           Holders of particular Securitmes from loss                   major, unanticipated rep~iir dr’replacement
   Ordinance No. 30-02 of the City,of                  ’ "a~is=ng from a failure of the City to.,timely.                ~ to the System pursLi~nt to Sectioh
   Detroit to’Provi~le for the Issuance df               . pay priBcipal (and .premiqi’n, if,~n.y),,.of
   SRF Junior. Lien Bonds to Evideqce                  ¯ interest.~bn suc6~
   Loans from the State D. rinkiqg’Water                    to whic~ ’l~he. l~rd.v, ider ~er, eof, i~’ r~paid ’              ’1£xiraordi~ary’Rep~ail: ~’hd
   Revolvin~ Fund...:,                                      sdlely as subrogee -without.c~eatirig" ahy                     Minimum Requi.r..e.m..e.n~" means’:’-fbr any?-
   Whereas, Ordinance l~e.,. 30~02 "pro-                    additional payment obligations (other than                     Fiscal Yea(, 1/i,2’ of.,.~/,~ df the’ 15u.d.geted,~
vides for the hnan~ing ’and ~r~fi~ancing,                  the payment of a premium or. annual ’fee)~.
                                                          ’ ’.’.Capii,’~l Appr~i~.tler~ecudti~;,~ n~n.~:                - operati#n and.m~i!ntenance ..’expense.
cap ~ ’improve~eq~ to ~he ~a~r Supply                                                                                    , th# Syste. m.. for sucl& .F:iscal.’Yea,r p.lus siJch
System .(the ~")~ of -~e-~Ci~. of                           Sec~ti~,tha, t,p&y.jnte=:e~t dnl~/at ..m.~r’i’~..:.,           amouBt.as is ne.cessa~ to restore:’to the
Detroit, MiFh*gan..(the.,,"~"),.b~ the                   W. ,ii . .. :.~.:,: ,-:: :":, :’:.. " ’: ",: :",;’=: ’ ", :i      Extraor.d, in’&pJ-R,.e~oai.r,.an~l Re, pla~cer:n~nt
i~suance fro~ time ,to.~ime .of.W~ter                        "City" means the City of Detroit, County.
Supply System Revenue~Bpnds                               of Wayne State ofMichigan.. , -, . - -
Revenue Refund~0g Bon~s;....’             :                  "Gode" means¯ the Internal~ Revenu6
   Whereas,-,~he Ci~ Copn~il of ~e Ci~                    C~de of 198~i,.a~ il’may be,:arn’end~d;an:d, :{
desired,to amendland restate Ordinance                   the .~.61es., a:nd., rkgulati~s                                  cer ofthe~:Ci~r.es#or=s!ble for parlor ,m.ing
No 30:02 .m ~rov~e for th6 issuance of.                  thereunder or a~pplicable thereto:"’ :,,;:,:,:~ ,., ;
                                                                                                                          the duties of-th.e~ ,~0ance Director
SRF Junior-Liem Bonds ,to. eqable’ the: Ci~           , "Gommissionars",’means the Board’:of                              suant to the-ChaEter of the Ci~".’ - ¯
to finance .eggible. improvements’ to ~e                 Water Commtssioners of the City. ~reated..}                        "Financial Facility" means any Credit
System with low-co~t loan~ from the S~te                 by. Article 7,’..Section-7-1501 ..of the                         Enhancemen!, Liquidity Facility-or com~:
Drinking Water Revolving Fund estab-.                    Charter-of the G, ity,~r a’hy succ~ss,~r bod~." ;i              .breed Credit and Liquidity Facility." -
lished pursuant:to, the federal Safe,                        "Constr~’ctiod F~ind"- means ,the ’.fund¯                      "Fiscal Year" me&as the fiscal ye~’r and ..;
Drinking Water Act ef 1974, as ~me~d~d;’                 estsblish~d, purs’u~nt t~, Section,l"4.’, .-:":’ ’               operation,.6f’ theC~ty:~vhich Begins on July
   The Ci~ of ~e~roit qrdains: ,.:-                         ."Co.uncil" me_a~s ~h~e ~it~ Ceu0~![ o{                       1 and ends"~on th~ fsllowing Juni~ 30’as" it
 ~ Amendment to A~end ~nd Restate                        City.,.: :-’:’ ,-."~.~- :,., _., ’- ,,.. %..:.
Ordinanc~ No. 30-02 ,- ;~. , ,::,’.                       ’ "Counterpart S~urities". means ..                              ¯ "Fixed Rate~Se, cufity" me~ns a Sec0ril
. Ordinance N~. 30-02,~as’ amenhed to                    Securitiesthat be~r interest ~t ~’at~s .Which: :.                that bsars int,e.rest at’a.,i.rate t.h~t ha.s
t~e da~e he~eof~i~he~eby, a~e~ded.~nd"                   va~ averse y, {o ’eaCh 6thor a~d tl~’at-w~rk .~
                                                                                                                          fixe’d for ’at least ’~a.." fi?e.-year)
re~tated::in’ its-entire~.to,                                                                                           ¯ includes all &f."t~e-.Fis~l Ye~ foJRwhi~h~:
b~lo~ TexLto be delet~: ~s-sh~h~"
~.,tS~ b~ addea i~"sheW’~’~.,Such ;


  ’sEdaN 1. DERNm0NS~’~ENE~
except-w~e~ othe~se                                                                                                      includes’ only" a.’pqrtion cf such ’fiv.’~.y~r
                                                                                                                          penod, a Secunty ~s,’also a,,Fixe,d=,Rate,
here n and,d~fined-in the                            ,’ determination.of th~ ~’atio ~ f.N&t Rever~ues.                    Security,.but o’n!y’for.sdch portibn; ’:.,,’-:~, ’
are ~sed he[ein a~ d#fjned ih the, p~e~m-.,-; ~’ to In~eB{edness v~                                                           (ii) ,A rate is fixed for. purposes’of
b e a~d the ’following terms shall’ ha~.Ihe         : for, pub.poses of-f~x~qg..or,.revlsmg .rates. r                   ¯ mining.whether a-Security is a ."Fixe.d Rate:.,
following meanings:--:..                              ¯ 6sui~’~ Ad, dition&!, Se.~ritle’s’..pr. ih’cu~dhg-                Security" if the economic effect.of
   "A~ 34" means Act ~.’ Public Ac~                 "~ addiiional Secbred Obligations. . - ";: ,.-.                       Security bearing’interest at a fixed rate is "
Michigan, 2001., as.amende~.’ - - "                           "Credit. Enhancement- means- ,a.~y
                                                          Credit Facility.anci .any’BoniJ Insurance.                      produced by a-Qualified .Hedge ,or by.
   ."Act 94" means Act,94,, Publi~~ of.                                                                                    Counterpart Securities; and,. "... , .%-
Michigan, 1933. as.amended,                                   "Credit Enhancement". moths any letter ,                        (iii)-A rate is variable for purposes of
   "A~ of-Council" means a resolution ’or’                o.f cr&dit, line, of’credit, purchase agre#-                    determining whether a Security is a "Fix.ed
ordinance- ~f ’the ’Council,,as required dr               ~ent, ’surety bgnd. 6r- 5thor, financial                         Rate Security" if. the-economic effect Of a
pertained by law to a~horize o( othe~ise                  arrangement,.other.th~6 Bor{o~ Ir~surance, ,                     Security bearing interest’at a:~,ariable rate-
give effect to the ~ubject mB~er thereof. ¯               intended t5 protect. H~)lde~_ of particular-,                    is produced by a Qualified Hedge: .--’ -
    "Additional "Securities" has the meaning              Securities from 16~s origin.g fi’om-’,~ failur.e..i                 "Governm..ent Obligatlens.".means direct
given that4erm in.Se~tio~ 20(C)(~). ’ .                  of the City, le timely flay; principal of an~l                   obligations of ,,the. Dnited. States. of.
    "Ancillary O~ligation" ’m~ans an~:                    interest on such S~cudtib.s or intended to                      America:or.obligation~ the principal,of and
 Reimbursement, Obligation ¯ and ,any                  ¯ secure an,obligatiento fua.d .an accoqnt or                      interest on-which.is f~ll¥ guaranteed by.the -
.Hedge Obligation.                    -      .-.         fund, such as a Reserve Account .... :-                           United States of America~. including~-U;S.
    "Ancillary Obligation Fees and                            "Debt Service Installment, Requirement"                     Treasury Trust Receipts .... ~’. ’
 Expenses" ~eans ~y fees an~ expenses                    means, .as of t.he:first, d.ay of each month.                        "Hedge". means, any,-agreement, by
m connexion with any Hedge’er Rnancial                   witff respect to a. Pfibi’ity:.of. Obtstand, ing~                which.the City,is authorized or permitted
 Facil ty in the ordinary course of the t, rans-.’ . Securities-and’Ancillary Oblig.ations~if.any, -..                    by law to manage its debt, s’e~viee, either, in
action.,                . .... , . " , ’, the tot~ for such,month, o~, the (i).-,Inte~:&st                              " connection w~th.the proposed issuance or
    "BMA Municipal Index’; means’the i~dex , : Installment Requirement, .(ii) principal: ~
                                                         lnstallment;Ra_quir#il~l~t:_:&nd                                 issuance of Securitles;:or in:.connectisn
based :upon the weekly, interest rat~s of -’, ,                                                                           with. its-. then Outstan~ling, Secdritie~,
 tax-exempi variable rat~ issues included:in. :          Fur~d-lnstallm~tRe~ui~er:n~nt,.if any;’:’ " , .’                  including,, bu~. trot- limited t.o; int.erest rate
 a. database, maintained., by-.Municipal                     "Excluded Tender Securities" means:
                                                           :. (~) Tender Securities that the City is not..                exchanges o[. swaps;, .hedges’-’and .,~imilar,
 Market Data, Boston,. Ma&sach~ise~;. a’
Thompson Financial Services Company                      obligated to purch&se: under’ any circum-                          "Hedge Obligations" means the C.ity~s--
 (or its successor), which meet,specifi&cri.-            stances upon. the-failure, of..the, remarket- ..                 payment obligations.unde.r.a Hedge ~ther
teria established by-The Bond Market.                    ing thereof, and,for-which th~ Cit~ has qo~ ~                    than the obligation to pay fees and
 Association.            --                              provided a Liquidity Facilib],; an.d .. : . ,,                   expenses ,in-the ordinary course of the’
    "Bond Counsel’s Opinic~n" means-an                        (ii) Tender Secddties for whict~ the City’                  transaction.                    "    " "i ’"
 opinion s~gned by an otter.hey or. firm of’             has provided a Liquidity Facility. ’              ""               "Hedge Termination Payment".. means"
 attorneys of nationally recognized stand-                   "Extraordinary- Repair and Replacement ’                     an amount’payable by the City "under a
 ing in,the field of law relating to municipal,          Maximum Requirement" means, for any,                             Hedge by reason bf the. early, termination.
 state and public agency financing, select-              Fiscal .Year, 15% of the budgeted opera- :-
 ed by the City.                                        tion and maintenance expense of the’                                "Hedge Receivable" r~eans any-amObnt
    "Bond Insurance" meads any policy of                 System ’for such Fiscal Year less in the :
                                                         Fiscal Year any amount that is withdrawn                         receivable by the .City under .a Hedge
 insurance, contract of suretyship, g.uaran-
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                                                                                                                                    "Required Combined Coverage" means,
     ~ncluding an~ amount by reason of the                       "Parity Ancillary Obligations" moans, as
    early termination thereof.,~                            to Securities, those¯ Ancillary Obligations                         for two or more Securities of a different
       "Holder" or "Securityholder means the                                                                                    Priority of Lien for which a Coverage
                                                            which have the same Priority of Lien,                                Determination is tg be made, the l"esult
     Person in whose name a Security is regis:              regardless of whether the Ancillary
    tered in the Registry..                                                                                                      produc~ed by ~liv d R’g the Net Revenues
                                         . ;- ,.,           Ob ~E~t OhS w~re entere.d into w.itl~ respe.ct
       "Indebtedness" has the meaning given                                                                                      project_ed for the .F3scal Ye,ar of calculation
                                                            to those Sec~u’rit es 6r Securities with a dif- ’,
    that term in SectiBn 2. ~ " ¯ .: - .-.                  ferenc~"Priori{’y ~)f I’ie’r~:                                       by tge" ’prascril~ed fel&t.ed. Indebtedness ’
       "Interest and. E:ledemption Fund" means.                  "P~rmitted Inv~t~neht"’.’~’ans, with                            co~in~ due during st~chF.iscal~Year. ’:-
    any Interest and Redemption Fun~l.estab.<,,              respect to any~tic~li~’~&~nts ~"1 ’e~al                                  Reserve Account" "~ans a Reserve
    lished-for,~ Rriorityof Securities. ,’~., ,:~’           Investrn’~eh{ subject t6 such’limi~tions as                          Accouht establisRed "in &n’ Interest i’~ctad          aT~d
    ¯"lnter, est .l,nst~.llmant, Requirement"~                                                                                   "Reder~p~iB"n’ F,~nd arid ,m, ay .be T~s(
                                                             may b~ irn’,pb.4~d’:b~’this"~)rdinanc~ o~; a.
    means, as of.the ti~st’day of each month i0 ,,                                                                                i~ meaning by ~eferring to Se~u~{i~s.’ of fi-i~
                                                             SU’l~plemen{a ~..Abt on for{~e"investmen~ .of
    a Fiscal Y~ar, with~raspect.to Securi, t~es"             s~ch ~od~’~’.";’                                                     same. Rrorty          of Lien ior whic,.h
                                                                                                                                                 , ........                 . -~,-~-~
    and~ Anoillary’,Obligatiens-,’of ’tbeb:s~me:.                "Perso’f~’;:~.~e~;-any’h’~tural’. persbni,;                       Reser~ Account¯was esta~l she .." -
    Pdority-.of Men,- the,aniount~-of.,intere~t~q            firm associatic~, ’corporatiOn, trust-p.art-                          ¯ -,,j~ese’.ry~d"Amount" m~ans.any’ amount
    accrued and unpaid and to acc~e:to.:and-,                                                                                      on ;d~p~it’ iq’the Ra~{e. Sta,bitizatip£~ Fun# ,
                                                             nershi~, joi~:~’,~Bnt[~’i:~];bint-~ock co~pany,
    including the last day of ,such morith;~.~oi~ ’          municil~l:,~’6~:por:ati~ ~3u5lic body                                 whicb’-i~’ taken into a~co~ht in
                                                                                                                                   with. ~.ny. C~’ve ~_ ge,~ Di~t e~ .r~in ailed ."~[: ; ~~.,’~’-,~
    Outstanding;Securities ;of such Prio~it~’:’df."          e~n~ .bs;,~,ho~,$v,~.:.o’~:g~nized:’
    Lien and Pari~ AncilJi]ry Obligdtion’.~,t~’ !                                                                                   "- ,Re~er.~e
                                                                                                                                         ,." ,.’ " Re ""u    q roman’s" ’m~’fls, -"fb~,    ’       ,,
                                                                  ’Pled~’~a’~setd’      rnea’ns                                             ""
    cqnst~tut~ inte~’est, if.any,~next.~o,m.ing;due-~                    : ’~ ...... ~’~¯- J~" :~’:’~’~’,.~..-,.,.~
                                                              ’ ~(i) ,,Ne~,Re.veque~i~..;’~"       ......           ’:- ’ :’"       Secunt!,es:of       the
                                                                                                                                                          , - s.ame
                                                                                                                                                            e      "
                                                                                                                                                              Account
                                                                                                                                                                      Priodty
                                                                                                                                                                     "’": ""
                                                                                                                                                                         has
                                                                                                                                                                                 ,of
                                                                                                                                                                               "’[=~--tab-
                                                                                                                                                                               ee~n
 ’!n such _F~scalYear.           . ; -,- /’] ".:,m~};,c:3i    ;(ji}:,’t~und~,ari~l acc~obnts established                            wBic5
                                                                                                                                     sh~J’t{lie"  .a,esse~
                                                                                                                                                        Bes~rv of the..........
                                                                                                                                                                       ar~ounf{6[  ,, ~..nqual
                                                                                                                                                                                       -             ,
.... Jumor Lien Bonds~’, .meahs,; ~al :                      5~,~r’pLir~’~ant{61hi~ Ordinance except for
    Securities issued-, pursuant¯ to ¯¯’.this i                                                                                     -’ ebt’Servlce
                                                                                                                                       ’ ,i",’" " - d~li;S’~’~udties
                                                                                                                                                              o ....      . ,, . .-~:-.-.~-
                                                                                                                                                                              of’thesame       -..,-
                                                           .tl~ Op~a~tibn--~d:’Main~eharic~, .~dnd and                              Dp, rior ...of Uen.:the;~i’Oqtstan-d~qg~.f,~          r~tl’ie
  ¯Ordinance   other than.Senior:Lie~,B~’hd..s.~i.,          t~ C~tru’c{ on Fh’nd’ and’,~n~:a~ccount
       "Junior ,Obligation’s" mearls’ all .Junior                    ;I ........... ~ ’~"~"; ., ¯ .: ,~.a...
                                                             thereof;".:,,’"".
    Lion’ Bonds and all Ancillary :Obligations I               --;(ii) ’i~~Je’~{~nt~"bf &mobhts i;i{dit~d’to’                       ,~,~,~dm’~-mo~Bt 6~ittec~ ,b.V-t..h~, Code
   that are notSenior Obligations...~;o .,’ ,’..- , ]        ~by fLind-’ac’~ount"6~~ubacco’[Jnt that is a,                           ~’]’~’r~’~de~.,~,~ow!.. {" ,!!;,,:~-,- ;’:: "
                                                                                                                                     "" ’(i) fB-r Senior’Lien. _B.o~d~, "the ’"grhodnt
, "l’egal Investment" rne~’ns,with:r~.~bt !                   PI.edged " ’ " .......
                                                                               Asset" and-’   -":""
                                                                                                  ’ "°~’:’=
                                                                                                      . _," ,... ’r,
’ tO any particular amoun~,.ar~ investment"                      (y) .any Jocome ,or gain realized from                              of Annual      Debt Serv’~" shall’Be maximuni
   that-is ¯authorized. or permitted~.by law, as:;         " nvestments                                                              Ann"el 5~bt’Sarvice;,’- ....... .’.",,",’- ’.~:~i-’,’ .
                                                                              , .that are- P edged Assets t                          .... (il) ,-for:Second   L en’Sbnd~; th6 "amount
   an in.vestme.nr o!, .~ueh ’ar~o.unts’, includir~g~..      the extent
                                                                   ..... that suc~:lr~come or’ga=m=s not                             c~f A~r~l~l DeI~t~Ser~ice"’~h’alt’be maximum
                                                                                                                                      ,&Bnual Deb-t.Se’r~ice;an’d’ ,," .:~’ ".’,?~..
                                                                                                                                       ’ ’(iii)’fBr a 6thgr Junior Lieq’Boffds for
           - "                                                      o~Li n’~’r.elated~- cl ~,               ga,1;~ons ,.. ,’          which’ a’ Re~&t~.e. ’ Acco-un.t ’!s_ ,e~bl~,sh, ed,;
                                                                    any,                                                              the ."amount     oFAnnual De&T ~erv[ce sna~
                                                                                                                                       ~e:-~the’- a~ob~{- ’set - forth in- the
                                                                    Se,qu ti~l~a~ar~}~pt~r..,~:~ec..uJ’},[les a                         Sul~’l~[#~n."e~qtar A~ton-~t~blishi~g suc~h
                                                                    such’of th,e. An,~[la~,Ob.~Iga~=,on~ rei"~ted.to                       -- , , " un{, Acco
                                                                                                                                                         &nd if no
                                                                    s~qc~ .S~’f ! e~s~;"_i~.’ia n’~                                     Reserve                        _ a~fi°0nt
                                                                                                                                                                           .. , .....is set -
                                                                    c I~~ b’r other r~t~i~ of"~apit&l:" ~ ’".. ~.~.~:’,
                                                                      ’ "Pi" nc pa " ~’~ta                                               sh&ll be average Annual D .eb.tServ!c,e.
                                                                    me,ins ’~,s ~i ih{~’fii’~’~y~ e~,ch in~’th                             "Revenues"m~ s" t.l-ie’ i=.e.v, en~ue,s..of .t_he
                                                                    a. ¢is~l’~’~ar~’wit~"r’esl~ect t~"~’i p ~io~ - ~f ;
                                                                    Ol~l’igatibr& :-"th’~,,~~n’d’~-~r"-:’of~’Rr, ir~i~                    sti-u eg"iis"defin ~i "~o ~ecti~n,;~,’ot
                                                                     ac~crue to, .and igclud                                          . ., i-¯,,Heag#R~                i&5le~’&~d.’.:.’~;"~~’~" :~, ,

                                                                     ~c~’ue’~ ~ t-t~i~ ba~iof 30-.da~-~ .c~tHs.’
                                                                     a <ye~r ’~f :3~0 d~y~)~ on Oi~tst~nding
                                                                                                                                           ~stabtished" by t . Ordlnan£~.-..ot~r the.,
                                                                     re.Jated Ahc ’~/ Obli~tloh~if any, next
                                                                              ’ ini’su~                                                    the Ca’fl~tructi~r ~Ji’i.&’@.’i:~,3f~.~l~-Ye-~".
                                                                     c~=dd~
                                                                      ¯                                                                       .... s’~’r~’th~
                                                                                                                                            earning  .., . :, ,     hst~iJ~i~nFdR~&r6            ndt
                                                                                                                                                                     ,., ~".~.~--~ -~_*’-~m.r-;
                                                                        "Priofty,bf L~ ~n" m~n~:with :ra~$e.t to                             reditsd to the I: ,a~vlng ~-anu. -,~.,- . ’"
                                                                                                                                               ,~s,-’;,r~d.~. 6n 3r~s " means.tf~e CIty s
                                                        othel:’Sebured ,Oh gatiohs, h’,4vino a lien, on                                     outstanding’ ’ :W~ ler "Supply’,-. Syste
                                                        Pledged AsSists on"a pari~ ’with such                                               nevenb6~’-" seao~( i ri-e’.n .,B..6nd’.~:[~:’..Se.ries.,
     oftime, all Reyenues received durifig such Oblig.~tion."Qualified Hedge" m.eans ’a Hedge .with                                        ~’69s-A and:’ a.ny Addi!!o~.a",...S...e
     period of time, except for those Revenues ’.                                                                  eaual Priority Of Lien. " ’. ~. ":~;-"’’means"
                                                                                                                                                           ".
                                                        a counWrpart~ that i~ rated directed-or                      ~".Secured,-’ Obligatior¯~4.!                   all
     transferred . to:. the Operation, oand=            indirectly by a Rat!pg ~,genc.’y’in a rating               Securiiies’,.’ Ar~ci!lary ’OSligations and
     Maintenance f~und. " ’ ,,                          category at least equal to the categoT:y in
        "Operation and’ Mainten~.nc{~ F~nd"                                                                        Andillary Obligatiofi’ Fe’es a~d Exp~se~.
     means the fund established pursuant to
                                                        which the subject~ Securities are rated                        "S&cur t es" m~’~.6s’ ’a "-Se~i6i~’ ’Li~Ln
                                                        without benefit of Credit "Enhancement                     Bonds     and’all’Jun~or’Lien Bond .-, -, .
     Section 12(,~)(!).. ’ .........-                   i~nd wthot~t-’reference to qualificatJbns
        "Outsiandiq~",’, unless o’t~]~rwise provid-                                                                    "Securities {o be’..,R,e{up~le.~"~;,~’a.n.-s,’ the’
                                                        such as "plus"-’or ~minus". If the sul3ject                            r Oust~n~iing" Sec[Jrities "tb be
     ed Jn a Suppl#mBhta[f’ Actioh for:particular        Securities are not rated’without the bene-                 Part cu ed   ba Refunding  "- -’":" "" "~’~      ed ,
     Securities, mea~s;’as of ~ny date and with                                                                     refqnd          Y ...... ~, becunees
                                                                                                                                                  ,              ISSU
                                                        fit of Credit Enhancementi¯t’hen the rating ..
     respect to Securities of a #articular Priority ’,                                                              forsuch       purpose.’      "  "    .  - .....
                                                        category of s[~ch Securities shall be tl~e                      "Senior Lieri":Bor{d~"’ ~e~’i~’s’’~ "all
     of Lien, all Se,~uritie.s 0~ suel~ Pi~iodty of’     ratii~g category ~it~ the b~n’efit of Credit
     Lien delivered under this Oi"din&nce                                                                           Securities    issued’ und.er"this ’C~i-iri~i.ride
                                                         Enhancement.                                               that have a senior en 9n Pledged Assets.
     except:                                                "Rate Stabillization Fund" means the
        (i) Securities of such’Pi’io~ity of Lien                                                                        "Senior’ Obhgat.ions. means all SeEm_.
                                                       fund created’under Section 13(G).(2)..                        Uen"Bond~" and
     theretofor~’ paid,.or redeemed or acquired             "Rating .Agency" mean#. &ny~nationally.                  respect~f.’Se6’ib~ L en Bo~d-~’a6d se~red
     by the City abe,surrendered to the’Transfer         recognized ’statistical: ratidg organizatibii
     Agent for~.cancellat.~.. ; o- .... o - -. "                                                                     on pa’#ity’therewith-,;afl~1’i~clbding all’Junior
                                                         as defined in Rule 15c3-1..o.f the. United                  L en ’Bonds th’at ha~e’ acc&d6d tb a’p.ari.ty
           ¯
     that hav~-’~natured or.. have Jbeen duly          "State~’    S~cur.ities’   ,. an.d.  , E.xc..hange            status with S~nior L ~h:Bo~ds l~LJ~u~nt
                                                         Comrflission. " ’. -                     "                   Section"?"5(F)- ’he’~eof’ and’.. Ancillar~,’
     called.for redem..pt on an, d for the payment      " "Receiving-~’ul~d" mean~ ~he Water                          Obl gationsin respect there6f, si~curedop
      or redemptiad’ ~’~h ch amou, nt§:i .td~ether     ,Sd~ply Receiving Fund establishe~J under
     with aCLy ,unpai~J interegt, are h~ld by the                                                                    ,a parity therewith, if any, ..... ." ":~’ "" . "
                                                         Section 12(/~)(1). "’.’ ’ ’_’." " ’              ~              "Sinking Fund Inst~llmen’t R~(~uirement"
     Trustee ,or the; Pa~i!ng Agent-f0r "the pa#-            "Refunding Sec’urities"means .Addi-                      means, with respect to Term SecUrities of
                                                         t one .Secur tie~ issu~ fdt’~th.e purposeof                  the same Pri6rity o.f Lien and as of the first
         (iii) Securities Af such F;ri~rity df ~ien      refunding Outstanding Securities.¯ .                         day of each month in a Fiscal Year, th.e
      that have been de_feas~d, in accordance                "Reimburse.re.’ ~nt Oblig~tibn" means the                 amount o~ any Mandatory Redemption
      with this Ordinance      o~-a Supplemental         City’s repayment obligations under a
      Action; grid ’ ; " ’.         -          -          Financial .Facility, and does not indlude the
                                                                                                                       Requirements next coming due in s,uch
                                                                                                                       F~sc&l .Yea~, including any Mandatory
         (iv) Securities ~ ~uch PriB’l~l~ c~{Lieh in     obligation to pay fees and exlbi~n~es in the                  Redemption Requirement .due at t.he
      exchange.for ~ replacement of which                ordinary course of the transaction.                           maturity of such Term Sei~urity less the
      other Securities of such. Priority of Lien             "Registry" means the books for.th# reg-                   amounts crec~ited to such Mandatory
       have beeq authent!cated and’ ,:’{elivered          istration and transfer of registrar on’of                     Redemption Requirements as the result of
       pursuant to" this Ordinance- or a
               13-53846-tjt
       Supplemental    Action,            Doc 6644-1      s_.ecur Filed      08/11/14
                                                                  t es as prov!d.ed  _in Section’3.G(1Entered
                                                                                                       )~     08/11/14     22:07:17
                                                                                                                       partial                     Page 91
                                                                                                                               rademptio..ns or-purcha.s.e             of 98
                                                                                                                                                                  of s’uch
     ~Term Securities, if any.
         "State" ine, ans the State of Michigan.                                                                 or tot any claims based thereon or here-"
                                                            (6) Interest.
         "Supplemental Action" means an Act of              (i) Interest due’in ahy Fiscal Year shall            under against any member, officer or
      Council or a sale order or other document          be. offset by the amount of capitahzed                  employee Of the City-or any natural
      signed by the Finance Director pursuant to         interest or ~nterest received by the City as            Person executing or attesting ’any
      an. Act of Council, which shall be this                                                                    Secured Obligations. ’ ", - ...... ’ ’
                                                         "accrued interest" available.for the :pay-
      Ordinance’ if,’the aciio’d of the"       F~nance   merit thereof. " ’           ~.                             (D) Execution,’ ;4~the~’ticati~n ~nd
      Directo~ is’h~-~in’~.o-thoriz~e~f.-. ’:’ ~.b.. ,      ~(ii) Separate provisionis;made in, this             Dehvery of Securities. "~:~ " ’. ,: .....
       ’ ~ystem means the W~ter ’Sup#ly ,                Section for determining the interest rate                   (1~) S.ecuritl~s sl~ll be executed in"the
      Sy~tem~of t~ "Ci~-’indlud~5~’,all plan~ ,                                                                  name of the Cit.y by’ the facsimile sigha--
     works, instrumentalities and ~rope~es;              °ni~) Vari~.ble Rate’~r~tie~ is "pi:ovid-               tures of the, -M~iyoi-~.and’ the’~Finance
     usgd o~’~f~l’in cdnhect~on ~th bbta                 ed in subsecti~b (C) ~elow;t~n~"_, ~" ,,                Directi3r and.shall have ,a’ fa~irriile of the
     ~ng a water supply, the treatment of wate£’~          (b)" Fixed ~ate S~uri~{~s ~dnde~ing to                C~ty s seal ~m. pressed, impnntet4~l         or ethel’-,
     or the distribution of water #s~he                                                                          wise reproducdd thel:~n. ,~’ "" ,’~:
                                                         Var abe’ Rat~ Secuhties ~d~ "prd~i~ed m
     no~ exists, [t~g~the~ with. all~’~dditidns          subsection (D~’~IoW: ~:~’.","~ .~,~.~4[,~,~,~;~ ~,’         (2) N~ :,~’~dri~"shall ~e’:’vali~" tJdti
                                                                                                                 a~thentic~ted:by’:ah auth6rl~’ed
     e~ensions,"repair~ and i~vemen~                     : (C) -Vadable’Rate S~#~iti~;~"~.=’" :"~
     thereto he~ea~e~ acq~J’r#d , ’                                                                              tative el the’’ii’a~#.fe~r"AgenfL"S.’edu~;lt[es
     - ~ender Securities ’m~ns Securdes                  b~’~"Outst~ndmg;’}~r’4[#s~’, thdn ,a ’full              shal’t be ’deli(ter,6d’, b~’ the’*’Cit~’ ~t~" the
    th~ are subject ~o o#tidn~t-or "mg~ato~                                                                      Transfer .A.ge,.n.t:f0~ #:uth~ntic&tion"~i~i:t-be ’
                                                         F sea Year oh th#’dat~’ of.calculation ,’then ’,
    tender.fo[purc~&~..~- ,, .... ~.                                                                             del vered-to "the’ T~’ai~,~fei:"-’A~~{.’by-"’~he
                                                         the ~nterest.rate-bn such ’Vaea5 e Rate
        ~ ~c~i~ie~.’ ~&ds~i{~.~{6~ct                                                                             Finance D!r~ ct~. J’: ~.’.~ e sJ ~ne ~ ~ f.~.~:~l.eliv’~6j
                                                         Securit es sha be c~lc~ &{~d:~s~’25%’df
    to, Sec~it~eE of th6’ ~ame ’Prio/i~"df Lie~,                                                                 to "the pu.rchas~r(~).~in ac[~o’-~l~e ",~,ith
                                                         the’av~ of the BM~ ’tde
    any matud~ o~ ~4h ’S~curffies th~ h~~                (as’hdrei~[ d#f}n~8)i’for            fi~ "year          instrdctions from the "Finance IbJreSt6r
    Mandato~ Redemp{[dn ReqUirementS.                    ~ri~ ~ndidg[ no~’~o~’{th~ ~ "week                       u~o~"~ pay~neht,’df th’i~
   - ’ ~nsfer Agent" ~e~ns &~ f~’h~r- ’                                                                          therefor
                                                         b~fo~ the’ d&te’of s~’ch,o~bul~iidd~’~- ’’’’
" ticul~r" Se#ufities, ’ the’"5~nk ’or" 6an                 (2) If £&}]&bl6:h#td,~Seduritie~.6av~                chase 6or~ra~t: E~ecut’~ bt~r~l~"SeciJrii~s
   sel6cted’ b~..th8 ~Fi~anc6’~Di’~c{dr’,~5.’~e#.                                                                for re~istrati(Jn-a6d::i-4siJ~h~-e’{o ’tr~n.~fe’f-’,
   form. th~ dut~e~"~rovide~ foF~{de’Transfe~                                                                    ees ~h~Jt; fror~"time
                                                         Fi#c~ Years ~ ’~d~’~te ~f ~alc~lation,
   Agent with.respect to:such S~cd~ltie~:                then the" idte~t;~e’ ’~ ’&bah Variable                  be delivered to the. Transfe¢ Age’n’t-~’for’,
        ~rustee" means-U.S. B&~’ N~{[~n~t ;              Rate Securities sha~l" b~ c&lculated a~                 safekeeping. "_-. ’.~ ...... --. ..
   As~ociatio~ or any-successor Trustee-,                                                                      ’ (E) Reserve ’Account~’Requi(’~’ment..
                                                         125% of the annualized average’d~ily, rate
   selecte~, by tb~ R~&nce.Directo~’{6 ~er-                                                                       Concurrently w th. "the’" is~f~nce’; of-’.
                                                         borde by such’V~dabldR~t~ S~curitie~’for
  ¯ form the dutie~of trus{eeun~er Section 19            the 12’ calendar month #eridd ’ending                    Securit~ps of a’ Priority-fo~ whi~l~"’aJ
                                                         immediately b~for~:the month.Sf’cal~ula-                 Reserve ~,t~d~lt:’has ;be~n ’o~is:~b-elng
   "Variable R~te Sec~’~-~’~a~’"any-,                                                                             establislied[ ~ t h~t~,e’" {sh~ll::l~e" -~r~dite~J’"to’
 Sec6’ri~ that is ndt.a O$#ital ’A~di&tion’                 (~) No~ithst~nd~ng pa~a~apd~’~                        such R~ser{)~:"/~c6~hPtl/f6.’~i me u r~t-th~:t,"
 Secur]~ or a Fixed’Rate Securi~                         and (2), for the purpose of det#rmining                 ’added to the’ a~og.’..nt.’~~d61~o~it’th~reih.or
                                                         the Res¢we Requirement for SeCurities of                 credited theretd,~.eqr~a[’#-’the Ri~~e~ve
   sffction ~. D~tin~{ibn: of AnnuaiDeb~                                                                          Requi~emerft for S~i~ffie’s’’th’~i" to-"
                                                         the sam#’Priori~ of Lie~.,.the’,i6terest rat~
                                                         on Vada61~" R~te Securitie~ }~h~ll’" be" dot             issued and aJl So’untidY:of st~ch~’Pr]6’rity
                                                         adjusted a~e# {he d~te’6f [nitial]ssQ~n~e. ’            then Outs~nding: S~gh’ amount i’na.~ .b.e
                                                            (D) Fixed R~t~ S~¢udfies                              provided~fi’o~ arly source or’m~,# b6
  ~e#te~ness..of 4any. #a~{c~r[~                         hie to Variable Rate Securities, " ’                     vided b~ ~ l~inanci~il F&cilit~                   g’.the
                                                            If Securities’~re, is~ded’~s Fi~ed ~at~ ’,            re~                                               ’ ~’~ "-’"-
                                                         Se~uritie~’but:~rd’i~t~de8 t6 ~onvff#t.~y.
                                                         ~ms to’ Variable RAte., Securities
    ,(~).,..gnless{hm~ted, ;#~’anothe£~Sect~on, {
                                                         tion is m~de~fo~ suc~, fOfd(~ :Fi~l~8~                  ir~ter
                                                         any Fi~q
                                                         Year el conversion ’she ~e-t~e F~rst,Y~ar              to
 Sec~nt~es. Outstanding ~n ’an~ F sca "Year ,            tha{ 6~c6 ’d~u~)ti~’~Y~~
 for ~wfflch the.calculation 4s ma~e;- .,: ’. =~ ~’ .    the ~u~p6~e6f:’cal~61atifig’:int6r~t" ~t a-
    (,0~,.Redge T~rm~nat~on Payments. ’"                                                             bein.g ...........
                                                      (E) Capifal~ppf~ciat~on~c#dties.,           -’ same ’Prio*rity’~of I"ien"~s~s.~ch Securities
                                                    For thd’Ga#i~&[
   nd Interest." -..’, .~C-- ~’ -- ,..,.- ...... the ’A~cr6ted.’Val6~’ Cer.’ $5 0Qg :Sue &t"’        subsectior~,(E) :abo~i.~,, udle~s such’ c6rfi-
, (1)’ Fimt Day of FiscalYeaKRnpc=pal of.         maturi~’sh~ll b# ~:det~’[mined"semi~nZ.            p[ianc~ will-, b~. obtaine~ ~itff’ amount’
  and,interestZon Securities cd~ihg ~ue
 the first day of a FiscarYeaEshall be cal-       nuall)  to ’~atur~-on  such’dates                  from a different soume, or by the deposit
                                                  ified in a Supplemen~l ,Action) Fofpur        >
  culated as bein# due on the.last-day of the                                                        of a Financial-Facility meeting the require-
                                                  poses of th6 rate co~en&nts in Sectioe 9,          ments of Section .4.                 ""
 immediately preceding Fiscal Y6ac .             the Additional Securities requiremen{s of’             .(3) The" balance ~f’. the proceeds,
     (2) Assumed Paid...Principal of and
 interest .on any Secur~ies due" in’a Fiscal"     Sechon.20 and far all’other purposes of            including’pm~um, if any, shall be/applied
                                                 this Ordinance, ’the Accmted ~dl~e of.              as provided in the O~pplemental Action
 Year prior to the Fiscal,Year for which the      Capital ~ppre~iatiop Securities shall               prodding for the-lssu&nce of: ~ch’
 calculation is’ made shall be assumed to         deemed to be due. and payable In’the
 have bee~ p&id when’d~e. :"
     (3)’ Bue b~tes.’~he due ~at~ for’any         Fiscal~e#rs’in’which’such Accreted:Value ’             ,(G)’ Transfe~ of" Re~i~t~tio~ of
                                                  shall ac[ually be d~e’ ’&dd _~ayable by the’        Securities.                         ’ .....
 princJpal~’.’ inkiest""                          City   16to-the    Senior-Eien-Bohd     ~nd
 Requirem6~ts.~r~ th6 st~{~’d dates for the                                                            ,-(I) Maintenance "~f" Books. E~ch
                                                  Interest  Rede~ptlo~-’Fuhd:or    the Sedond
 payment the~e~ and not~i6~ ~dvanc~ of                                                               Tmnsfer Agent shall "~ep or daus~ to b~
                                                  Lie~Bond Interest and Redemption Fund,
such st&ted"~ates b~ reason of~accel~ra-          as applicable,’~6r "assumed paid-u6der
                                                                                                      kept; at its .princi#ar’office, sufficient
tion. " ’ ’ ’-                                                                                        books for the’registration an~ transfer of
                                                  (B)(2) above, as ~pplicable. =             ,        registration of Securities for which i~ is
    (4) Term Securities. ; ...... .-’                Sac. 3. Authorization and Issuance              Transer ~gent,’ whlbO shall at all limes-be
   . (i),’;Ma~datory R6de~ptidn-;Require-         of  Securffie~;    Related  ~a~ers.  " "" -’
 m~ntsshalI.be treat6~ as,prin6i#al                                                                   open to inspection ~y the Cir. ’,"[,, "
ing on the respective’ date#" {hat’ ~uch              (A)’ Authorizatibn’ . of . Se~b~itiesz             (2). PrMlege" of Transfe~ Und~ such
                                                  Securities  shall be’~OtRerize~ from t~me    to     reasonabl~,’regulatidns, as.’the Transfer
Mandato[y~ Red~ppti)n.~ R~’qu~rem6fit~           time   by  Rcts of Council  and Supplemental-
are due. ’ - ’~          ""’" ’’:’:’",.       ’’ Acti6fis. ’ " " ~- ’ -" " " ’’~’
                                                                                                      Agent May prescribe, tde ~gistr&tion of
    (it) "~e:" princ~par Student ~f a Te~m ’,                                                         Securities ’br which.it’ib the Transfer
                                                     .(B)  Issuing   Securities, The                  Agent may be ’transferred’. ~pon ~its
Secud~ maturing id’a Fiscal Yea~ ~hall’be         Director may, by Supple~efital-A~ion,
reduced by the. total .of-t)e "Mandato~                                                               Regist~ by the ~ersep i~ whose n~e
                                                 take such actions as .are necessary or               such Securities are registered, in pdrso~
Redemption Requirements’ due in- each            appropriate to give effe~ to the transac-            or’by his’ or her duly authori2ed a~orney,
Pi#ca/Year before t~e.Fiscal Year of such        tions contemplated .by an~-Adt of’Council
maturity.                        - .... ’                                                             upon surrender’of such Securities for
                                                 authorizing the issuance of Secbrities or.           cellat~on, accompanied:by deliv~ of a
    (5) Tender’ "Secu~ies. Except for            as are incidental thereto. " " " -.-~ ’" ~ ’.        duly executed wri~en instrument-of tr~ns-
Excluded Te~de£S~curities, eac5 date on              (C) Liability Limited[ ’All cove0an~s,
which Holders of. such Tender Securities                                                             for in a form ’app~[oved by the ~ran~fer
                                                 agreements and bbl~gat~ons’of the CIr.               Agent for such Securities.. "
m~y tender or may b~ mandated to tender          containe~ in’ this Ordinancegr in. any                  (3} Surrender for’~ansfer; Receipt of-
such Tende~ Securities shall constitut# a        Secured Obligation~ are those of the Ci~           . New Securities. Whenever any Security is
maturi~ of the principal a~oent of such          and not of any member, officer or employ-
Tender Securities that could be tendered                                                              surrendered for transfer, the City shall
on such date with the g~Y~og of.notice or        ee of.the Ci~ in his or her individual               execute and the Trapsfer Agent for such
                                                 capaci~, and no recourse shall be had:for            Securi~ shall authenticate and.,deliver
the passage oi time, or both.
               13-53846-tjt Doc 6644-1 Filed 08/11/14 Entered 08/11/14
                                                 the   payment   of  any Sdcured  Obligation~                  22:07:17
                                                                                                      new Security                 Page
                                                                                                                      or Securitie~.~       the92
                                                                                                                                                s~e of 98
   aggregat~.pnncipal amount, of the same                     (3) a ;copy o! the Credit Enhancement;                         (F) in accordance wl[n
   maturity, ’and beanng the same’ rate or                and                                                             the City may provide for the accession of
   rates of interest~&nd~.:otherwise of the                   (4) an opinion of counsel satisfactory                      Junior Uen Bonds to the statu~ of com-
   same tenor as                     qdered               to said nationally .recognized bond coun-                       plete ’parity with Se~nior’ Qbligations when
  for transfer                                            sel to th.e effect that the Credit                              there shall hav.e been ’filed with the
      (4)                                                 Enhancement¯is valid and enforceable in                         Commissioners a certificate satisfying the "
                                                 ulre     accordance with its terrris.                                    re~ipirements of Section 20(C) from a
                                                ~ ’the        (C) The Finance Director may, subject                       ~&ti~nal consulting firm or anational firm
                                                          to the re.quirer~ents."of Act 34 or n accor-
                                                         dance w~th.ariy other applicable law from                        of c’~ified public accountants, a~d fu~her
                                                                                                                          reciting the o~inioa: , ’ -
  mer{t,al                                      with     time to time-enter into such Hfdges as the                          (t)’ that the Rese~e Account ~ontains
                                                          Finance D}r~ctor’~l~ie~’mi~s to I~e in the"                     an amo~nt,"~U~l’{~ the ’Reserve
                                                         best financ[al interests df:th~"Oity.’ ",;. ....                 Requiremedt £omputed on a bafis whic~
                                                             ’(D) The ’Finahc~’:,Dil:ector’may grant t~                   includesr’~]l’~S~uritie~ then oa~ta~dih~
                                                         the ’pr~}v[de~of ~iri~"’Firra~clal’Facillty, o’r to
                                                         any"cohnterp~rty "tc/:"a~y               Hedge                   . (2) that all paymeht~ int~"the’ varihus
                                                         riZed 5~i~his S’fct=o~;! s.uc~ights’as,may                       {~s’ and ~cceunts’h~r~abo~e requi~ed
                                                         be ’n&’ces~,ry’oi"a~p¥opi’ia’t& that &’re nor                    to be .held’~uh~f’tfiis O~d fiance-are bur-
                                                         inc~;nsistent ~ith"thts Ordinance Act -34 or                     rent- as of~tfie d~t6 of accession;"and "
                                                         any 6thor: ap’l~lib&l~l~la~.; ~"~.’.’.’~"!~"~’""                  ’ (3)’iha~ th’~:lnter#~t ~5~: Redfmptihn
                                                            .’Sebtion.5.~’ S&’cu~it~ f(~r’P, a~erit.’                     Fbnd~cbnt&i~# ~h~’ amounts       which would
                                                            ’(A): The -t~a’#~nent of::Sec’L)re~ "Obliga-                  hay# 5~eh:: r~qbirea’~ to ’be" acc~’ulated
                                                         tions’is.,se~:urfd b~ a ~t~tutorylien, which’I                   ther~iE oh~t~"d~te~’6f &cces~ion’if sdch
 of                                       =of" that      is hereB~,’~re’~-ted, ~J’#6’~:thf"~vhdleT.ef the                 ~n~o~" Li~d’.~’B~hds h~d;~:originally ~ b~n
                                                         Pled~d ’A~s~ts -’s’ub~[~-t:’~t~th~ {J~ end
 exchange                                                ap¢lication~the’~of J~’#c~’~rd~ce’ with this                     a~bnts-sha]l"5~ "sfff~n~’in"said c~ifl-
 ed for                                                  Ordinance. ;~,/’:" =. ’~’;: ; m. ~.~’=~,. ![!.:.’;~, .., .,"..                                       ,:. .~..
 pait,                                                                                                                        The accessio~ ~f s~’-3~if~ ’Li~
                                                          Obligatiohs .is valid’only to the extentpe~’-’                  Bonds shall be’con~lusidely ~videnced’ by
 reaeemed dr..tendered -ih’pa~.’ -= ~ ~’ ~ ’-                                    ~ ’- .’,’ -:" "’" - !’ "~ :’ "
                                                          mitted:b~ law. ’’Bon~l’"                                        notice from"the"Ci~ to the’Trustee and
    (H.) Mutilated,’"                                       " (q) ExceptLfor                   Insurance, ’~’             eabh Ho~d~ of’suc~ Juhiof Lien Bonds.
                                                         statement’ of the ".Prioribj’"ef:Lien of.’an                       ’ Section 6. Payment’, o~ ~cured
    (1)’ If~4~-S~ur~ ~&’b~[~ted; the                     Ancillary Obligatih~ ~hall "be’contai~ed:in,                     -~bligation~-sdbo~inatio~.,~,, ..’,
 at th~ exp~n~e~5[’ the ’~R~l~er.                        the instr-um~’nt" e~iaeh[::ir~ "~,   dr~#rcviding.{or             "" ~A~ :G~brally~’Sebure~; ’Obl~ati~
                                                         such’A~citla~’y"Ol~11’~ibr~?::~:~ ,-’- ¢~ ’                       are not’gene~l"o~i~atiod~o~ the’Cryand
 Agent for se~5"Sec~i~ ~h~ll autffnficate.               . (’t’)r’ Ari ~Ai~cillad2 Obli~at 6h ir~: ?e.4p~ct                shall b~’ pWa#le" solely ~.fro~ pledged.
 and deliver,’ &’new Security of fi~e" tenor             of Se~[i~iti6~ 6f t’f~’~fib"P~:ihi’i~ bfEi~’n:                   Assets~s provided i~ thisSection:
 ex~hang6 and &ubst~tution fop th6 mbt{lat-                , ;(i) ’Nay: 6~ ’s~c’~’6(~,~.t ~: Io~er; Pdority               k. (1) ~ncill~ Oblig~fibn ’ Fee#’.’ And
 ed Security, upon sbrrendeP ~o"such                     of’L e~" bu["{’~-: "’~.~:~:~":~’~’~;~’ ~,4._-. "- {.:             Expefse~’-’~#e ~yable,fro~ Re~e~ues j
Transfer Agent of,the-mutilat&d ’S~d~ri~                   ¯ -(,)’may-,not .be secured=,at a’ h~gher                       and to"the e~ent of ~d~ .insufficiency,
  "- (2) If ~ny:~curi~ is lost ~s{’royed’fP              P~" or ~’ff:l~n:’ ’" ~’~,;~ ,~;o:; _~ ~;.’~’--,-~; .u -.’L-       pledge~, A~sets. ........... . "
.stolen,’ evidence bf o~ershi~ of’the                                                                                      "(2)nAil Sehbri~ie~ ’~nd
 Secur~ and’ oLthe loss,¯ destrb~t[on                    Pri~i~’f~:’Li65: -16~e~,t’rJ~- tl~[~’05f’.,the -¯                 bbligations’"are’ ’~y~bl~.:from Pledged
the~ may be ~ub~ ~ed"t~’ thf~Tran~f~r
   gent for such Secur~ ada~"ff’thi~ eVi-
                                                       irl[o and may Be-~P, ar [Y4~ ~nclllary.                . (B) B~##r#ina##a., .. .
Transfer ’kh~nt; and:,indemhit~:~&~thL                 Obb gatlons:tmB~cu~;~t 6~to.wh~cq:~ th ey:a re          .. (1)’ W~en~ve~dh’~:~fin~l’:(an~
    to such Transfer Agent and t~                      otherw~se,      unrelatd~fro~lded.:,’that   ,any      m~mz’if~)tPof.~’h~      iRt6Pe~{ od’Seco’fit[~-
                                                       I~e.~’}~, secunng ~                                  of ,th~"r~’~ :.Pri6r ~’6f~ed~. d6y- p~-
sh~l be given .~an~-~’all requirement’of
any~.appl~cab~e_-Iaw, ,~nc[u~ng A#t-"354;.             respect..of ’Sen or ’~h", Bonds :’shal               ment- on~t~e~Pa~ z~nedla~ Obligations,,
Pe~ ~ A~tf~of’~i~{~Ah~ ~ 972~’~                        s~J.bje~:t,’tO~.#~e r ghts~.~tl-i~~l’io dare’ofthe
ed, h~8 been..me~? ~hen; ~t, the"expense               (3~ty’s- outstanamg :.Ware ~apply- Syste~.~          t~en un[d sue~-paymeg[-ts’ma~e eFprfviX:
of th~ Rhla ~’~6~{i~t~. ~55s~t~                        Revenue"Second: ’L~en ~-Bonds ’," Series
Security, the CiW~hall ’ex~cute~na ~uch                1995-A, except, to the extent;!that sucPi             s~t sfact on -of~he,~-Ho ders
Transfer Agent. ~h~ll (fifff£~55 ~u’th~htF            An~’illah/-:O.bli#~tions arls6 id~b.nnection;.?        Secu~it{es ~ th’e ’hblig&e~ of:#hc#’~Parity
                                                                                 ’
cute &rid ’deliVer;-a n~w Securi~ 6f Ilk6~.           with a Financial~F~bilit~ ~ic{~d~:~’d -tb              Ancilla~ Obligations nq su#h
tenor and bearing the statement’reqdirfd"             any I~ortion £f the Re~;#n;’e!=A~.bou~lt or tdT       shal b~ ~ade dir~ctly~r ifd K#~t ~;~n or n
 by Act 354,~- ad~ ap~5~bl#’l&w here-                 be s~Jbstituted for’cash th~rein.’--:~-’-’ ’ , . .-    respect of any ,Sec~rt es, of-:a,’,lower
                                                           (D). The lien securing th~ payment of a           PrioriW. of Li~ oP~ &ny" Ancillary
 a~er e~acted;’ in lieu of an~ in substitution
br ~ Securi~:’s5 ~s~;,-~estreyed~’                    Secured’Obligation is subject~to the fol-              Obligations which,, are "Pa#i~-’ Ancillary
 stalen. If a~y’ ~uch Sscu~[~ shall have              lowing Priorities: : --                  ’     ’       Obligations’ to such Sedurffie~ oflower.
 matured o#.shal}’ be about-’to mature; ’the               (1) The’ lien securing Sen~or Obliga-             Priorities of Lien (such Securities and
 Trans~r A’)eat ~a~ pay the sam6 without              tions shall be ~ first lien, senior~o all other        Ancillar# Obligations collectively’-the
                                                      liens created’ hereur~det except .the lien’            "Subordinated Obligation"’ and .the
 surrender thereof as’ aut~oriz~ by .Act
 3~4.instead’~’of issuing.~ substitute                securing Ancillary-Obligatioris Fees and               Holders and obligees, thereof~ the
 SecuriW. - ~-’- " ’ " ~ "                            Expenses which are further subject to thi~             "Subordinated~Obtigees’~; except as pro-
    Se~on 4 Rnanc)& ’Facilely; Hedg~=~               ’quallficationof’ subsection.(C)(2)" above.            vided    below with respect’ to defensed
 .- (A)’~he ’Rd~nce Director may; from                     (2) The lien’~;ecu’ri.ng..Junior Oblige-          Securiti#s.,. ’/" ’~ ~"::~"}:’-: :~;~.’. ,.
                                                   " tions shall be junior only to’the lien secur-               (2); Subject td the p~yment
 time to time and at any t~e, ebtaifi a"
 Finafcial Fac{li~ in respecf of all or-some          ing Senior- Obligations’~tPienever fssue.d.            Securities rind AnGilla~,Obligations of
 Securities ff the Fihance Director deter-            Among Junior Ol~ligation~:" - , ’ --’                  eve~ higher PrioPi~,of L~en (collectively, .
                                                           (i) the lien securing Second L}en                the "Superior Obligations" an~’ the"
 mines such to be in the best financial
                                                      Bonds and Parity .’ Ancillary Obligations              Holders’ and obligees thereof~ the
 interest~ of the Cir. "
     (B) The’ Rnance Directqr. m&y at any’           thereto shall be senior to the liens secur=             "Superior Obligees’~, the Subordinated
                                                      iRg .all other Junior Obligations; and - " ’           Obligees shall be.subrog&te~ to’lhe rights
 t~me acquirea C~diL Enhancement to ful-
 fill the-City’s obligation to fond an~                 ’ "(ii) the lien of ~ach othe~ Priority:’e,f’        o[ the Superior:Obligees tb #eceige-’pay;
 Rese~e Accoun~ gr’substitute a Credit’              Junior Obligations of the same Priority’of              merit ~n’ full. of-the; respective-ObligatiOns
  EnhancemenbfoP’a~ounts in a Resswe                  Lien shall be senior to the lien of all lower          untJr all. amounts ,owing on. the
  Accodnt;The’Cre~it Edh&n~ement           shall¯     Priorities of JUn.ior Obligations. ’-.’                Subordin&ted’Obligatiof~ shall be’ paid in
  be depasited"~{th’~’~ndrp&Yable to the                  (iii) the SRF JLinior Lien Bonds s’f~al} be                                 -"
 Transfer Agent in its c~aci~."a~ p&ying             the Iow.est Priorit~ of Junior .Lier~’Bohds,                (3) Except-&s oth~is# provided in
  agent for the related SecuritieS.’ Before or       and the lien securingl SRF Junior Eien                 Supplemental Action, 1he Gi~-may agree
  concuPrent ~ith’the acqu ~iti£n,of such            Bonds and related Ancillary Se~bred                    with- the. Holders,, of Securities ,hi "any
                                                                                                 ’           Priority- of Lien ’~fid" the -obligee of any
  Credit Eh~ancemedt; "the "" "F~nan                 Obligations sh&ll’be’ jenior to’~the liens
                                                     securing all other Junior OBligations,                  Parity ’Ancillar~;’Obligations. thereto to
  Director sha(I receive: .-:’ ’ "’ ’ "
     (1) a~d~nihn of .nat~fally recognized           whenever issued.’. ~ -’:"                              e~end, renew, modi~ or amend the terms
                                                  ’~ (El Each lien securing ~ Secured                       of such Securities or such Pari~ Ancilla~
’ bond &ou~s&l thth~’effe~t that’such sub-
  st rut on will ~o~.~dv~rs~ly’ affect the tax:      Obligation shall continue ’until either pay-           Obligations thereto 6r any-~curi~ there- -
  exempt"st~tus’ of’ interest on any                ment in full of such. Secured Obligation or,            for, and any such-Holder~ or o51igees may
  Sedunties; ""- ~ "~ ’ : ---L . -’ : _              in the case of Sefurities,.is ’defeased as             release, sell, exchange such secud~ and
                                                    provided       in Section 21.  of this Ordinance:       othe~ise deal freely with the Ci~,-and the
     (2) evidence that such Credit
  hance~ent is provided by ~ provider rated         Ancillary Obligations .sha.~ll be defeased in         , Ci~   with any of them, all without no~ice to
  in the highest rating Out,gory of each            the manner pro~idec~;~jh" the agreement                 or consent of ~e Holdersof any
   Ratin~ Agency theh rating ~e Secudti~K           with the ob!!g.ef._.~of, such. Ancillary                Securities of any lower Pdod~ or the
   having 13-53846-tjt
            the b~nefit of such Reserve Doc 6644-1  Obligations.   Filed 08/11/14 Entered 08/11/14          obJigees    22:07:17
                                                                                                                          .under any Parity  Page       93 of 98
                                                                                                                                                 Ancillary
  Obligation~ thereto without affecting the                                                                                 ¯ Operation and Maintenance Fund
                                                             (1) the amounts required: .
  habihties-of the City to such Holders or                                                                                  ¯ Senior Lien Bond Interest and
                                                          . (i) to ~owde for the payment of the
  obligees..                                            expenses for maintenance of the System                        Redemption Fund
    (4) Nothing in this subsection shall                as are necessary to preserve the same in                               ¯ Senior Lien Debt Service Account
  impair the-right of the Holders of any                good repair and wor.king order; and ¯. ’                               ¯ Senior Lien¯Bond Reserve Account
  defeased’Secudties to be ¯paid from t.he                                                                                  ¯ Second     :.Lien ¯Bond Interest and
                                                             (if) to provide for the payrn.e~nt, of
  escrow effecting such defeasa.nce.                    Indebtedness coming due ,for t.he~...Fiscal                   Redemption          Fund .... ’ ’ ’ , ’, ’ ’’~
    (C) Financial Facilities. Ex~;ept as                                                                                 " ---: Second Lien Debt’Service Account
                                                        Year of calculation; and ., ......
  otherwise provided in¯a-S’upplemental                      (iii) to p~ovlde for ~th~, cr@atio’~" and                   "- ’o "Second Lien Bond Reserve Account
 Action:          -’        ¯ ’ ....                    maintenance of reserves therefor as                              .¯ SRF’-~lunior:Lie.n Bond Interest,and
    (1) Nothing’ in this Section ~hall affect           required by the Ordinance or any..qrdi:
 the payment of Sec.urities from ’ahy                                                                                     ’. SRF’ -~Jumoi’,’-’:l:.ien" ’D~l~t" Service
                                                        nance .or resolution adopted’,Jn .accor-
  F~nancial Facility obtained for the benefit           dance with the terms thereof an~d hereof;
 of such’Securities. ’ -~’ -- ’~" " ’,                  and                                                               ~o-i~Io~SRF ’J~dior"Llen Bo~d R~serve’
    (2)’ No paymentqf an amour’ff’~m~le’by-                  (i~) to pr~vi~e ~r .~ch ~ther. ’expendi-
 a drawing .or disbursement¯ un~f .~"                   tures and’/funds for the System ~as this                            o’.,S~c~,lnt~rest, ar~’d~R~de’mp!ion Funds
  Financial Facility to Holdersof Securities             Ordinance ma.y requi’re ,~nd ’_ .., ......                    as ~’re’ established~.;~-by’ S~pplemental ’
 which would otherwise,havo ’tOken .ifiade               ; (2) The Require~ Combined Cover.age                        Action for-othe~-’3uniOt=l~T~n Bonds of the
 by the City shall be di~emed to’be-a pay-              where the numera:tor’is th@ klet Regenue.~
 ment-by the .Ci.ty..,on"ac, cobnt:=of                   proje~;ted for the Fis~al Year ~’i calculation
 SecL~iities’for the purpose of’dischafgin~j             ah~ t~@ de~omin~.tor is the Indebtedness                           ¯ Irfipr~vem’eqt’a~l Exten~sion’Fbnd ~
 th~ Cit~s!oblig.ation on sbch~Securiti~.~’.~’_’;       coming due for.~uc~ Fiscal ~’ea~’.." ’~’i~’" ’.
    Section 7. Sec_.urityhbld~’rs"Rigl~t~.i              , (C)The C~ty hereby ’,covena~is agd I
 Receiver, . ":.’,-’;., -:,                                                                                             ’ -(2).’AdditiSns.hff-ufl~ls’~dd accb.~ts’may: .
                                                         agrees’at all times t~ maintain such rate, s
    (A) Th~’~H{Jldel’ ~"’ hol~l~r~ :’6f ’)he            for services furnished’ by’ the System as. I                   be establish~"ff~r other S~cudties of’the
                                                                                                                       same .v Prioilty~.’ df~.l~efi ÷bi/-Supplem~rit&l ’
 Securities ’representiqg in the a~j~Ee’gate             shall be sufficient to providefor:the fore- !
 not less than’20% of the                                going and t~ repay any ~ransfe’r from the ’                   Actibn’:df the Fin:~h~erDir’ecto~!. - ;w.,.
 amount thereof then Outstanding, rn~y;,’by              Extraordinary ~ep,~i~" end"Replacement ’
 suit, action,"manda~nd.~.or, other proceed-             Reserve Fund. . ....... . ~.                                      ’.All Reoenues sh~.ll be set’a~ide ’as’ ~ol-
 ings, protect and enforO~ the statutor.y lien -’            (D) Without taring ihto acbount any                        lected ".’~.nd ’.credit~d~:to the. Ri~ceiving’-
 upon.Pledge~ Asset~,’and’may, by-suit, .                transfers,from the.’~Rate ,Stabil~ation                        F.und. A~ receiqi~d, -amount~dredited" to
 action; mand&~nus.or btlier proceedifgs,                Fund, the ,City shall at, all. times- observe                 the Receiving Fund sh.~ll-.b~ transferred
 enfor.ce and,’cPmpel peffdr’,mance of all               and .comply with the cove..gant.’contained                     seriatim iRto; the.~-’following-- funds, and"
 duties of the’ officer~ oFtl~"Gity"ih.cldding                                                                        ¯ accobnt~;,hot~ only ;wffhid;~’the;,’respective: :
                                                         in subsection (B)(2) above as if the. Rate                     limitatibds,. and only’;;if" th’~ makirrium ;.
the fiking of suff!cient rates; the,co!lection           CovOrage Pe rcen~t a~]’e’~i~ re ’ 100~,~. 4":’: "_’
of R~venues, the proper se~re, gatiom’of"                    (E) The charges"for water service                          amount Within Such limitation hasbeen
                                                                                                                       t~nsferr~l’-.to’-~tl-ie ,preceding .’fLind or’
th~ Revenues of the S~,stern’.’~nd the"                  which are under; th~l~~vision~ of’Section
proper appli~;~tio5 thereof.T~e ~tatutory                21 of Act 94are made ,~lier~ o~ all:~;emis-
lien upon Pledged Ass.et~" how~ve.~, shall"              e~’served thereby, ¯unless notice" (a~~om-
not be co~trued ".tO Oiv~e t~e H61dei’s of               paniedby.~a ~opy of the" eas~ of¯the ~’ffect-
the Sebl~riti~; the, a0thorit~ tb dOmtOel :the"          ~d .prerfiis~s, ’.if-ah~i,)"-is ~i’v~rf"td"tt~
sale df t~e.S~ster~,o,r                                  Council that a tenant is i’espdnsibfe,’ ~,r,e
                                                         hereby reco..g.nized’to ~;oni=Btute;~dch~lien .
oflth~ ,’6~.~5~,’~1-~$~.                                and-w~er~i~ver any such charge ag~.inst
an~ in~erest~0n any’.SecUr~tles;; any!t~ou~ .                                                                           current..expenses; ,f,o? th~~ma~n,t..e.nan.c~
                                                         any piece ’of-prbp~eftY sh~I1’~ bi~d$1ir~qb*~nt
havlng j~ n*sd~ct=o~ :.~5: a~y’: pro~erVE~ti$5 i
                                                        for’s ~’ months;-tff~ City~Officfa(;’.o~6~i~ia!~
                                                         id’;~harge iPf=th~6 cdll~ction:ther~’bf ’m~y
o~ra~e t~h~ S~te’~n 6ff’bel~alf~of. tl~ Cit~’.’
and ," un~r .th~-d’ri~b’t’o~’ of"-t h ~ .bou~tz~pe~-"    c~i’t~ tb.:t~,’tax"a¢~ess h~J" off tier’of:the
                                                        City not la.-~erth~n,’Apnl 1- of each y~ar.the
formall:Of:th~ dutie~"~ f, t h~"Offfc~~o f               fact of ~d~l~~deliriquen~y,~’Whefedp5h ~0ch
Cty mOr~’ ~rti~dl~i’i~.~et~’~ort~h h~i~ii~{"i.n           char.ge shall be entered Ul~bfi:the"h~’tax
Act 94 ~nd in such 5~’d~’§’;of ~H~ c0t~i’t, .’.           roll .’as>a "bh~Zg~ &g~.instS~;’u~h;’,~:~.ml~es i
   ¯ (C) .THe,’~Holde~,-:or~’FN]51~@#s "of :,th’e         and the lien thereof enfO=:ci~d           n the same           Senioi’:L[en’ dBIfgat]6hs",a§’.df~the’fii’~t d~.y
Securities’.shall hav@ all’other-’r,i~ht~;;~.n.d          mahn~r"as’’- g-eneralF City -taxes.’ against
r@~n~iies givenk~oy":Act:9~’=’~nd:Oy I&~v for             such     -premises’     ~re  cbll~cted-a~d"the     en’        , " Third:t6.ffh~ Senior" t:ie~.Bond’ Rese~e
the I~aymen~and :’enfB#~er~~nt 6f the                     thereof enforced;’., provided, however,                        Aci=ouht, an amount that whi~n ~dded~to
Sec~r tes and the ~=ecur ty’therefoi’:’-o ~.~.            where      notice    is gi~,er~   that  a  ten"an~   is’
    Section 8. Manag@menb :-- ’~ ,’~.’r                   responsible       for  sBch   charges   and   service
                                                                                                                         all other amounts th’en- on deposit, therein
 ¯ The operation; repair and hl.~nagement                                                                                shall, equ~il the. Reserve R~quirement for
         ¯                                                as   provided      by said  Section-21,     no-further         Senior Lien-Bonds; ’                    :’ . -
of the System;’ incldding all projects                    service      shall’be   rendered    to such   pr~mis-               Fourth: to the Interest and Redemption
financed ’by the issuance of Securities~                  es until a cash deposit ~qual to the esti-
shall remain under the supervision and ,                                                                                 Fund     established    foi"  each-Pribrity’   of
                                                           mated amount 6f the next ensuing, bill                        Junior ’Lien Bonds, "Oeginning with the
controi of the’Commissioners in the man’-                  shall have been’made ~.s-security for pay-
ner provided in.Article 7, Chapter" 15. of.                                                                              Second Lien Bonds and continuing in
                                                           ment of such-charges and services.                            descending order of Priority of Lien to,
the Charter of the City. ’subject to the,                      (F) In addition to other remedies; pro’-
rights, powers and. duties ih respect there-                                                                             and including each-the Priority-of Lien,of,
                                                           vided, the’City shall have the right tolshut                  Junior Lien Bonds: ¯ ,                      :’ ’"
to which are reserved by law i~nd the ¯City                off and discontinue .the supply of water to
Charter to.the-Council. ’ -"                                                                                                  first: to the Debt Service ’Account
                                                           any premises for the noqpayment of water                      established for such Priority of Lien, an
    Section 9. Fixing .and Re~/ising                                                          "’ ’ ’
                                                           rates when due. ’                                             amount ’that,’when added to all other
 Rates; Rate Covenant~                                          Section 10. No Free Service ~r Use;
    (A) The coverage requirements for                                                                                    amounts then on’ deposit therein, shall
                                                           Metered Service. ,                                            equal the Debt Service Installment
determining the Required .Combined                              No free service or’use of the System, or.                Requirement "for Junior Obligations, of
Coverage under’this Section are the fol-                   service or-u~e of the System..at I~ss.than
lowing percentages.: .;"                   - ."-                                                                         such Priority of Lien as of the. first day of
                                                           cost, shall’be .furnished.by’the..System to
~riorit~ o~ i,~debt~d~e;~ ’~ ~;r~en~;,~e                   any person, firm.or corporation, public or-                        secorid: to the"R~ser~ A’ccbuntl if, ahy, ’
Senior Lien-Indebtedness ;..:.....~,1 ~0"°/o               private, or to any public ~gbr~cy. of-instru-                 establiat~ed= foi" such¯ Pfiodty of"Lien an
 Second Lien Indebtedness ...... 110.%                      mentality, inc uding.the C!ty’and’any other                   amount that’..wl~en-.added’to all other
                                                            munic pality..’ All servibe, providb~ -to’,cus-              amounts then ojn,;deposit therein shall
 ¯ SRF Junior rien’Bond~-                                   ~omers       of the  System,    with  .the’ex.~ption          equal’the’ Reserve Requirement~ for such
   ’Prior ’to. or ,concdrredtly’ @ith the’                  of temporary connections andTcertain
issuance of Securities of a Priority of’Lien                public service’ uses of th’.e City which are
not enum@i’ated ~bove; this-"subsectioh                                                                                       Fifth: to- the; Extra.ordinary Repair and
shall be amended’{o ’provide.fo~:’the cov~                  billed on an estimated Oasis, .shall be                       Replacement’ Reserve Fund.,¯ the amount
                                                            metered.               -~’-,r~" ;      ’" ’                   of the Extraordinary Repair and
erage percentage ’for IndebtedHess in                           Section 11. O~.~rating and Fiscal
respect of such Securih@s, but in no case                                                                                 Replacement Minimum’,’Re~uirem’ent so
                                                            Year.    -                                             "      long as’the balance thereof is less ’than
shall the coverage°’pbrcentage ’be ’less                        Th~ System shall be operated on the                      the ExtraOrdinary RelOair and Ri~place-
than .100.’ Such amendme.nt.shall not                       basis    of  the-Fiscatl  Year.                   ""
 reqdire the ~0nsent of Holders of ~.ny                                                                                   ment Maximum Requirement e~cept that
                                                                 Section "12. Funds and Ac~dunts;                         an amount withdrawn frorri~su~h Fund
SecL~rities.-" :" "!° " --’ :’ ’ "                          Flow      of  Funds.                                          pursuant to Section-13D shall be deduct-.
    (B) The ret;s fo? water service and the                      (A)    Establishment          of Funds     and           ed from the Extraordinary-Repair. and
 regulations ~hall be the rates and regula-                 Accounts. - .
tions required13-53846-tjt
                 to be established by Act Doc                                                                             Replacement .Maximdm-ReqWrement in
                                                94.   6644-1               Filed       08/11/14
                                                                 (1) The follow ng funds and accounts         Entered  08/11/14              22:07:17 Page 94 of 98
                                                                                                                          the Fiscal Year of withdrawal;- and " ’
 Such rates shall b,e fixed and revised from                are hereby established: . -                                        ~xth:    to  the I~nprovement .and
time to time as may be expected to be                            ¯ Water Supply System Recevin.cl
                                                            par, of such Term-Securihes shall be cred-
 provided that no amount shall be deposit-                                                                               lawful purpose of the System; prowded,
 ed therein or credited thereto for so long                 ited to the Receiving Fund¯                                  however, that,if and whenever there
 as a" borrowing from the Extraordinary                          (3) Reserve Accounts..                       ’          should be-any i:Jeficit in the Operation¯and
¯ Repair and Replacement Reserve Fund                            (i) Except as otherwise provided here-                   Mainten&nce Fund or in any interest and
 remain~ unpaid.., , ", " ":                                in, amounts in a Reserve Account shall be                     Redemptiod-’Fund ( ncludlng any Reserve
     Section 13. Use.and’Application of                     used solely for the payment of the¯ princi-’                  Accou~t.~,thereir~)-then transfers’ shall be
 Amounts in’Funds. ,.v,.~.,.;,-~; ",                        pal (and premium,’ if any) of and interest                    mad~,~ft:oTfi the Surplus Fund to,’.such
      (A) ReceivingFund. ’.:.:’                             on Secuiities arid Ancillary Obligation. s of                 fundsiin,thi~ priority and ~drder nahied-in
      (1) Amounts in’-the Receiving Fund                    the same Priority ofLien for which such.                      Section 12-’to the e~tent ;of "any~such
 shall be applied .as r~ceJved =as’provided                 Rese-rve Account ’was establis.hed,’,as-to                    deficit.        ’ "’~#:~’~:;~: ’ ’ :"
                                                            which ther~ would otherwise be defaults,,
 in Section 12. Amounts not transferred’to                                                                                 ’~." (G) Rate.Stabili~a’ti&r£’Fund~"" "~:’"
  any other fund or account shall remain in                 . (ii). If at a~y time the a~eu~t.on ,deposit                  , ’=(-1 )" As.- L=sed :’in-’ttl’fis.’ Sedtiont:"PrioP,
 the Receiving" Fund until the last :day of                 m. br credited .td’o,a ’Reserve Accdunt                        Revenue;’me~ns a~y a~no~ts that.doasti-
  each Rscal Year. ’ .’" :’" ":" "" ¯ "                     exceeds the’-Reserve Requirementfor,                          tLIte’ Revenf~i~s, or Net-.Reveriue~."ai~d: held
   ¯ (2) Amounts-rema’Jni~g in,:’the ’R~-                   such Reserve ’:Account’, ~.the. amount’;’of                    under this Ordinance but only ~,th’e~i~xtent
  ceivlng~’Fund as of the’ last da~;’of:each               such excess may be transferred’]h~reJ~                          that st~ch,!amounts rday’be--~ppliee~to any
  Fisc&l’ Year shall’ be :transfe’rred ’ tb-the            from and credited to the~Rece~wng,:Fund.                     , lawful .’phrl~dse’~of :the:’System’." "Prior.
  Surplus Fund. ,,                                           "-’~iii):;No":,further’.~ment~- n e’L,d:                     Revenue’ "does not include"~nY; amoiJnts
      (B) Operation-and Ma’intehance                       made ointd" an:;.lnte-re~t’:and’tReddrfi#tion                  held, hnder:this Ordinance that at,’the’.time
                                                            F, und "in, respel~f’ ~f, prin~ip’aP’and !interest            are re~t’r cted",in’app c’ati~ .to’ ’& specific
  Fund. ’ . :...:, ..-, ,,,- ; , -.,,,,r,~.,.,..~ ,-
   " Amounts in the Oper,’~tiod"~Ed ’Main:                 after,’~nbu#h,.of ~th~’ Se’~ur.ities foi" :which               purposes, such as, ’ by "way’ of ’illustmtion~.
  tenance ,Fund shall be used. to pa~i!:the                sudh Fu’nd ’ ,waS’ "-’e~t~bllah ed ’..hav~ ’ be en             the application "dr amoiJnts"ir~ the:E~url~lus’
  expenses of administ.ration and’operation                retired’- so.4hat.4h~ "amount t~en ’l~eld"in~ I                 Fund in the’;e,~ent of a:deficit as provided.
                                                           such .’-"~ Fund~,-,;.qndludirig’ ",the,. R~’ser:ve
  of the’ System’,, (inclLIding’:"Ancillary                                                                              ~in the: pro~ision, toSection :13(F.1. "’ ’ .-
  Obligation’ Fees ’&nd- ExpensesL ~n~lr any               Accdunt the~[’r{,;.if.’,&nyi,is: e~u~l’~’to                     ’-(2)’Th6 Commiss[oners~may creme a.
   rebates’to’the"Odited States g6~e, rn~nent              ehtifeV~nibb~t"~f."i3r r{~ipal~’-~nd ~[brest~- ~              I fund ~desigr~ated ’,Water ~Sup!51~f’- S~stem
  that may be-requJ~ed ’by’~tl’ie Code) ’and ’"            whicH:Will b~ l~ayabl~’~t~th# time"of’m&tu-7!                 ’ Rate. ¯Stab zatidn’- Fund--’(th~-’°’Rat           e
   such ’current expen~e~ f~Jr. thi~: ~fiainte’            rit~-’df ;~ll ’th~ theh’ Outst~n’ding Securities. ’              Stabilization~Fund"). No ani~iJ~t~si4all’ be’
   nanc# thereof~’as may b~ decessa~ to                    of’~uch Priori~. of Lien,.":~: ~-:"                              desposited thereiri oi~ crddited"thereto.
                                                               (iv) A ’separate Reserve "Account r~ay                        except Prior Revenues and then ~nl.~’ if:
   preserve the same’in           good’repair and’
   working ~rder. ~:~: --" < ~"-’~ ’ "1                    be established for an is~ue of Securities                            (i). such Pridr Reyenue is credited to
  . (C)"lnterest and R’edem~’tion Funds. ,                 by the.Supplemental Acfion.’providing’for                        the Rate ’Stabiliz~tioh Fund in,the Fiscal
  ¯ "(1) Gehemlly. Amouhts in the !Interest                the issuance."df,~bch SecE~ri’ties.’. "~:’" ..." .               ’Year in g~hich" it was-"recogr~ized,bY the ’,
  and Red’emp~ioh:’ Furid ~establisheer "for,                 ’(a) Securities~-ffi&Virrg: tl~e’, benefit" df                 C’ty as Net Revenue. .dr ..... with n "90..Tdays’,,
  Securities and~for Ancillary Obligatiofi~of.             such Besei’ve,,Account-n~ay t:ie"issded 6ut                       after the end, dr, such"F~scal’.¥ear;’ "~.’
. the same Priority of Uen sl~all-be;a.l~pl~ed. "          only if such separate’-Reserv~ -Account is ’
                                                          fully eqh&l’(to the.’~l~’~rv#~’Rec~t) rement                      i (ii) ’the’ ~mount of,’su’ch Prror:Revenue
  to pay principal (and redempt on" prerhi-..                                                                                is .deductei:l":from .the an~ount- bf-’Net
   um ,if any) .of: arid intere’st on".~uch                for’such " 5~c’Uritilas, ;q’d~ ,qrJrrentfy teith lhe~ ’           Revehue recognized;ir~’suc.h Fiscal Year
   Securities and--dmounts- due ’-"on ’such                                                                                  for ~4 -purposes-of thi~’Ordinahce; and-~,
                                                                                                                                     (iii) the ar~o~’nt, oil~t’i:lev~nue recog-.. "
      (2) Mandatory Redemption Require-                          its- Reserve. Requirement ,shal~.be’ ,made"                     nized in such Fiscal,Year at-!east meets
   ments." ,,. :-: " "’, . ’., ..’                  .-,.         on a parity with-paymerfts:,irj’{b.ail .ethel:’              ¯ the minimum applicabl~_’cqverage re.quire-
    ’(i)-A Mafi~latory~Red~r~l~tidn~.Req~Jire-’-                 ResePve,.; ’:AccOi]nt~’i,"-~,e~tabli~he~l:..~ f’~r              ments of -t.h.i~, Ordinarice..for,,.such Fiscal-
.ment- fen a~’:m’at’u r ty.,~of,!Terrd" Securities"              Se(~r~ties~f’th~ s’ame-P~’idri.t~,bf~Eiefi~’add[                Ye~r..aft~’r~(i).is.uq,~.~le, di¢~{i~n a~d (ii)_all,, ’
  ma~...b.~-satJ~fied id’~hdl&or, id!~r~b~/the’                  shall   not                                                     prior ded~Jctjo~, s-._in:.~,e_s.pe~ct ’gf.;su.ch.. Fisca! ~
   rdder~ption, df :q"a)i’nff, SddiJ rities’: tit’:s-rich’ ’     propo rtio nat~; "~Ji~f ~ t;-.-p~/~m ~,~t.~ ~p. ri~b r-         Year- pursuant-to tinis’.cla_d..se.~’-~’- ._,~ :~.-:"-4"
  matdrdt~,or., by" fhb’pdrcl~a’~..&nd:surra~                    lion,to DeficirPay-merll’;.m-~an~, fbt~a;~p.--                      (3) "Amounts To.r];~epos t-:~invthe,-’ Rate:
  der to. the Transfei"-?Ageht~o’fi~uch -Term’.                                                                                  Stabfll~at~oo~’_," Fu.n.,d.I m .ay.:,_be ~,taken.,-dnto_ :," ’
  Se~di’itie~’: frbm-:arTid~nt~::c tedit~’~tiY, the             tidri: th,~t. ~l-i~: &~nount,.-~gdilabli~ ’td;ri~m~’d~.          accoLIn.t ¯ with~., re,spec.t_~tq’.," ~.ny,~,’C.o. ye~’ag .e ? ’
  Interes{!~’~rid ~’R~d~r~tio n,~¯ ’FLi rfd~,.~tab-’:l          d~fi~it~, in. e~.~h ’:1~ ~ ~ dr~e~’Ai~O~n’t:’fo d’s d ch. ’     ’Dete~minatio’n~.~-.,V¢-..-. .~,-:~: ~-~,’~:_-~.-;~ -~..~" ~,~:~ .;
  lished’-"for’ .~u;ch ~Se~’urities of ;Pridrity bf              Priority be~&rs f~6"thd~&-ggri~at~,~i~fi~it.ihalr                   (4)" Whenever-arj~} Re_s.~i_rv~d’,~m.o. ~nt is’."~’
  Lien o’r !surceaSed~ ’with bthei’~.fdf~d~rl’e~&l’-.                                                                            taken;:, into:~,~cc.o~Jot.,:fpr,,,,~ .n.~z.’Co~rage ..’
  ly’ava labia thierefor.-=The Finance’Director                      (D). Extfadi’dihary:C,’, F~ep~ir-’,i’~ ,,find               Deter~in.atio~n,r~ t.hen..;’ s,u.cl?.~ Re’s.e._rved
  shall elei~t thd~;mahf]~r iri:’which:’he/~he’:                                                                                 Amount sh~l.!~e.,ored, ted. tp:thet.~e.ce v
  intends to: sat}sly all~’or ~" pdrtio~"of’                         (1) Amodnts in the E-xtrao’fdinafy                          Fund =f,o.r, tf?e, :.F(~cal ~,Year,..fo~ .,which
  Mandato~ Reddmpii.on R~dluire’r~ent,~o~:,                     Rel~air and Replacement"Reserve Fund                             Coverage Determina_tion~is made:,-, - -:
  particular Term.S~curitie9 not less than 40                   may be used to.pay:the costs,let making                            , (5) P.r[or£:to .-the ,transter,-.-of a~y-
                                ,
  days prior~.:to~.:the due date-5f.’such ’ major unanticipated-repairs ~hd’ replace-                                            Reserved A.mount to the Receiving Fund.,
  Mandatory,_ Ri~demptidn, Requirement                          ments to the System, which ¯individually                         such l~..served An!ount shall not be used
  unless otherwise,’, provided- in ’ the                        have cost or are reasonably exp&cted to,                         or a,p.l~i.le, d- to an,y purpose except pur-
  Supplemental Action providing fdr ’the                        cost in excess of $1,000:000 as~ deter-’                         suant .~.~,,.Section !6 and-:.th _on only, after,all
  issuance of such.Term Securities... "                         mined by th# Cqmmissioners.’ ’ -                              ’ other r!,~,mou.n.ts .:~then.. in . the:. Rate
     (i~) Unless otherwise provided’ in                             (2) On and after the’ first, day- of’each                    Stabili~:,~ion .Fu0d, have.been applied pur-
  Supplemental Action providing for the                         FiscalYear, the Finance Director may, by                         suant, t.~i,,~ection. 16:.,-.. ~. ~-, ~.
 issuance of Term Securities/the,City will                      Supplemental .Action, .transfer for the                             _(_6) A~ount~ .gn. deposit ’ie~ ~[~.e,. R&te
  receive a credit against theMandatory                         Impro~/ement-and             Extension     Fund¯dot              Stabi at. o~ t Fund:. othe~_thaa Res.,erye,d.
 Redemption.. Requi~ement’.,~ for "T~rm                      . more than ’50%" in’.aggi’e~)at’e of the bal-                      AmouDts may be,.applied-4o onyx:lawful
 Securities for ’which’ such Mandatory                          ance in this Fund en the first day vf such                       purpose ~f-the.,System,.~, ; ,’;;’, ..-~t
  Redemption Requirement was estab-                             Fiscal Year if, but.onlyff (i) in,the morlth of                    ¯ Section-14. Constr, uct’.mn.Fun_d,
 lished that have been’ redeemed (other                         such     transfer     the  full’ amount     of  the                  (A) .There shall: be established .and
 than by’ application of , Mandatory                            Extraordinary Repair and Replacement                             maintained a separate-depository fund.
 Redemption R, equiremects).or otherwise                        Minimum Requirement for each prior                               designa=ted, the Construction ,Fund:. ,.The
 acquired’by the City prior to the givin~ of                    mor~th in’ the current Fiscal Year has been                      City ma, y.des gnate’separate acc.o ,unts in.
 thenotice of redem’ption &nd’that have,not                    credited td this Fund" and (ii) the amounts                       the Construction,’ ,Fund:for, different~e~ies.,
 been.applied as ’~ credit against, any other.,                of ai~ p#ior transfers’f#om,this Fund to-the                      of Securities for.. administratiye, p~rposes
 Mandatory Redemption Requirements. -!                       ¯ Improvement and. Extension F.und hav~                             and to better,.enable, the City too.comp.ly.,
     (a) Not, less. than 40’ days prior¯to any,                been restored in full. - =. -                                     with its tax covenants.la"Supplamental-."-
 mandatory redemption date for Term                                 (3) The City shall-fix’rates and cha[ges                     Actions regarding the exclusion from;-fedr
 SecuritieS, the Finance Director’shall give                   for-the services=,supplied‘ by the System’                        oral" income ta<ation....pf,.interest,-,on,
 notice to’the Transfer Agent’that. such                       sufficient.’to’ permit- it to me.et’.its obliga-                  Securities. " -- " . - .,: -.--: -.-
 Term Securities are’to be-so cre.dited.                       tions under.Section I~D.-: ; - . "                                    (B’) Amou~:in the Con~{~u~’~’n’~F~nd,
     (b). Each such Term Security shall be                         (E) Improvement and Extension                                 shall be, applied solely ~n payment of the
 credited by:the Transfer Agent at 100% of                     Fund.                    "- ~ . ,      ,-, ."                   ¯ cost of repairs, extensions, ~nlargements.,
 theprincipal,amount thereof against the                           Th~ Improvement and Extension F~Jnd                           and improvements to the System and any
 Man~tory Redemption Requirement.,,                            shall be used for improvements, enlarge-                          costs of engineering~ ~egai, bond:insur-
 and .the " principal -amouDt of Term"                         ments, extensions or’betterment to the                            ance premiums, if any, and othe~ expens-
 Securities’ to be redeemed on suchSystem. - -                                              . ’: - : ",- .-                      es iqcident thereto, to the financing there-
 mandatory redemption dante shall be’                              (F) Sut’plus Fund.- " " ,~..’- -. ~.                          of.
 reddced accordingly and any excess over                           Amounts from time to time on hand in                              (1) Payments ~f the co~t of repairs,
 such amount shall be credited to futu;’e                     the Surplus Fund may, at the option.of the                         extensions, enlargements and improve-
 Mandatory--Redemption Requirements in                         Commissioners,          be  used    and applied’for               ments to the System, eithei" on account or
 such order as.the Finance Director shall                    ¯ any purposes related to the System for                          ,~otherwise,       shall22:07:17
                                                                                                                                                          not be made urfless           tide
                    13-53846-tjt
 d~rect; provided, bowever,’that any excess            Doc   6644-1
                                                              which      the       Filed
                                                                               funds    and     08/11/14
                                                                                              accounts     were         Entered   08/11/14
                                                                                                                                 registered      ~en-gineer       in charge 6fPage    such. 95 of 98
 resulting from the purchase, at less than                    established hereunder or for any other _,                          work shall file with the Commissioners a
               with the plans and specihcat~ona therefor;
        ’ ’that it was done pursuant to and in accor--                 of L~en, beg=nmng with the lowest Priority                                   pledge and Pledged Assets as herein
               dance with the contract therefor; that such             of Lien and proceeding seriatim in                                           encumbered and pledged.
               work is satisfactory; and that such work                 ascending order of Prionty of Lien, until                                     (B) Maintenance and Operation of
 :             has not been previously paid fo’r.           ’          such payments are made =n full.                                             System.
                 (2) Payment of the cost of engir~eer~ng,                  Section iT. Investments.                                        .          ¯ (1) The City will, through its Commis-
              legal, financial, bond insurance premium,                    (A) Permitted ¯Investments. The                                         sioners, or such successor board or body
                                                                                                                                                   as may’ hereafter
              etc., as provided in this Section shall be               Permitted Investments for amounts held                                                           be. iegally Char  e’"
                                                                                                                                                                             _ ofgthe
                                                                                                                                                                                    .d.w~th
              made under, such prhcedures as estab.                    under-this Ordinance. are. the Legal                                       the duty~of    the operation         System
              IIshed by and upon-submission of a_ppro-                 Investments for such amounts subject to                                     maintain the System in good repair and
              priate docu,rnentation to the Fman.ce                    the following:--- .~                       ,- -,"                "         working ord6r and will operate ’It efficient-
              Director.¯ v ." - .. -,             ..-                     .(1) Investment of amounts-in, agy                                      ly and ¯will faithful!y .and punctually per-
                 (C) Any .une~pended’-balan~e                          Reserve Account shall be (i_rnited to ¯oblig-: ,                           form all duties with reference to the.
             ing in the Constr~ct~on Fund.,may i~the                   atlons bearing maturity dates-or s~bject to                                Syste~ requ red.b.y t.he Con~stJtuti~ and-
             discretion of the Commissioners. be used                  redemption, .at the’.op.tion of the Holder                                laws of the State, including, the making
             for meeting aqy,;R..~erve Requlreme~:gr                   thereof, not ater%thaB,-ten.~i.eam,from the                               a.nd-c~llect ng, pf?sufficient rat~s, for ser-
            for further improvements,, enlarge.me.pie                  d~te;of.the investme.~t,~ --, ..,. -’., ..                                vices rendered.’by.-the Syst~m,.and the
            and extensions to .fbeoSyst~m..i.f,,,~t the                    (2) Except as-otherwise.herei~ provid-                                score, gallon and- application¯ of t~e-.rav-
            time of such ,exper)diture,., such...use~4s.               ed,..investments ..shall ..mature at such                                 enues of the System ,in, the.m~ner.-’pro.
            approved By the Michigan Department                        t~mes as it .is_ estimated ,the ~unds there-                              vided in th~s Ordinance..-’: .,., ’e.-,,~ -
           Treasury, if suc~ ,p~.r, misson,, is..~f~’~                from ,.will ,be. required, but shall.be. I~mited
           require8 .by law..Ahy,,rem&ip pg~ba a~ce.’.                to obl gatioqs,bearin.g.maturity.-dates or                                ~l n.e~d ~nd Hr.oper repairs, .replace. "
           after such ’expenditure:shall, be paidlir~to,; ~            subject to ,redemption, at theoption of the                               ment~,~addittons,.a~.d bette~r~ents, to the
           the-Interest,and R&de~pti~ E,,L~nd.e~ta~:.                  Hol~ler thereof,, not, ater. than .five..years .                         S.ys, te.~ ,.sq tt~at’, the~.-System .may,,~t ’ all,
           lished {or tt~e Securities oi t~h.~.~R~                    from the ’date.of investm~lts; ,., .--.~, ,:.,-.,.:-,.                    limes .be, oper~tad properly a~d advanta4
          Lien giving, rise tto.:.such balance :for-,the                  (3), A Supplemental. Action’ rday, pro~-                              geo~s{£~ and.when~r a~y portion el"the
          purpose of pur~ha~;~g S’e~ur ti&s of ~[~ch,                 vide ~or limitations.in a_ddition, to. or in-lieu ,                       Syster~. shall, hav~.,be,fin_ worn ~out,
          Pr or!ty at nob:mere than the fa                            of’ the,- above,, -limitat=ens...,on :~ Legal                             destroyed or b~eqome obshl~te,.inefficient
          value thereof but not m~ie’than, t~e p~’ice.,                Investmer~t~ or may eliminate any of such                                or otherwige ut~fit for.use,¯the City wi pro-
          at which such. S&curities. m;~..’,-pext be                  limitations¯ ~; ..., :,, :~- . : .                              ,’.       cure and install’ substitutes of at ,ieast
          called for redemption, or used, for, the pur-                   (4) Notwithstanding paragraph’ (3), no                                equal utility and efficiency so that the’
         pose of-...calling,.~suc.h,.,,_Sec.urities .fo~’             Permitted Investments for.t.he defeas~nce                                .value’ned: effici~nc.y .of:t ~ ,e.System,.shail.at
         redem.ption.,~Tbe.. C1 ,ty.=may p.~ov de --add -             of particular Securities ma.y.:bescbanged.                                all.tii.’p, e~.b’e.’fuli~mant~i-d~: ~:;/: ¯.
                                                                      without confirmation from, each ~ating
       ’ un_ex ~P eno ed.-’.,balanpe,:,o~-em~inin~,’-bal:(;!          Agency that such-change Will .no,L,r~deqe                                 maintain ~nd:keep proper, books~d~,,r~coi,d:
                                                                      the rating, of such Secunbes. ’ ,--~:. ,                                  and ..acco.unt sep.atate.’.fro[n, all ~-other
        pmance uiredter, w~ich"~s~’~lJ,...’ndh~lff~’. ....                (B) Whom He/~ To theextent requireo.                                  records, o.and - accounts i~-, which~.,sha~Ll~e
       less, ’be subject-’,.,t~ .receipt; of, ,a Bond                 by Act 94, securities representing invest-                                made full and,correct entries,of all’ trar~_s-,
       CounseJ’s,(~p ni~_}_hat .~uch I~,~e.Js per-                    me~ts made qnder, this Ord~nance,~hall                                    actions re at no.to the .System ~and .the,
       mitted-by~.:.applicable.,law, and                             be kept on,deposit with the hankor trust’                                 City will also cause an annual audit-:~of
       adversely;affedt.~he, tax, exemp, t sta.tus.of                                                                                          such books and record.s, for the p_rec~’di~g
                                                                     compa.ny ~av ~g ~ del~e~i~t, th.~-fu.n’d or~                              FisCal Ye~t’~’,to be rn’ad~ by ,an. ~c~L~t~nt
       Outstanding SeCurities. ,-;, .’~ .....                        funds or,-acoounts-from whch.the.pur-                                     who shall-cor~me’nt on~-t~eq~ann’er
                                                                     chase’wasmade. "..." :.’:~.~.~ .... ~,,                                   which ~he Ci~. ha.s c.e~p.[i~d .~’ithi.~e
           (A) Amounts Jn,,,the.seve~al..fun.~s;                         (C). Disposition "~oer~fit and
        accounts an~J..’~subacbo~t~ e~t~b’llshe~’                                                                                              requirar~ents ot~ this-Or, die,nee. Tl~g,,Ci~,
                                                                         (1),.._ ,P,,rofit~. r.~.~li~e~ ,...p ~ .i n.t e,r.e,~..t i~in~o~’
     . pursuant’,to ~[s_’-Or~in~nbe.s~al~ ~,kep,t.i~. :              eameG,on, inv.estment:=of ~moun~s ~n ~the~                                w . rnake,;,su~b.=au~i~.~’,~a~;;~ ~5 & ~t5 ~1~~.
        on~ or m~re ~counts~se~pa(at;,’~.i~art.                      Receiving i~L~nd;’.’. Op~r~tio~d~..~l~..Main..~j                          Holder of any Secunty upon_.re.quesL
        from. alLother ~cco~n~,ofdhe,~ity, .and                     tenan~e c’ Fund,~;,.a~y:’,;.,’~lr~t.e.r~st,~::.’. and                      will- ndt~s~l~:,lea~e ~or,: di.s~’~5i..ihe
                                                                    Redemption Fund-(incl,cling                                                System ~o_r~,.an~
                                                                    Account, ff anyr:~ereini~ th~ ~x~ra~’din~ry/,
      the manner;aqd ~t..-tbe tLm.e.s, pr.o.y(,d..ed., in.,                                                             until all Ouis~a.~din, g Secu~:ities
      t~is Ordin.ance.._;rL~ ;~ ...:,,;: ,.~..                   and ]~;rove~enL ~nd,~~e~si~; Fund                      paid ir~ full ~.~ io botff ~5.._rin,~’a,.:~;(,i,~~jp,t.~,2’ ’
        :riB) A rno u n ts :,~J~t,dh e~,:,ln~ te rest,;.,a_n d, shall be;’credited t~:~h~-Rece’Jvir}g.~:~nd                                  " ’-- ,:’ "r~ " ,~ ’ "-
    ¯ Redemption Fund ’for Securities of .the ’                     12). P~fi’t’ r~al~e~ "o~’~r~e~e~t
      s, ame Prioriii/’. of Lied, sh~lf,-be -kel~t~’~n          investments of..funds.j’~ .the. Chn~tr.u~tion            [rued.to prq.hlbjt, tb.e d sp..osit off;’_or l~ase
      deposit With .one"hf.,ihe,:banks. or {rust’ ;             Fund relat-ing;.to any. series;of Se~rities.           of any p~operty-comprising part,of
     companies-.where -the ~in~i~l;.~of lend’:                 and any’.. Rede’mp~fion Ac~ount’ (including             System. w,hic.b is no, Jo.r)ger necessary,
     interest on such Secu~:iti~s,~re payable.-                any Reserve...A~-.count. or ,~ubaccount.                appropriate;required for.,the usa.of, or
          (C) The dep.~sitar~::~f..;al ,fu~d.s and             established !or-an~ Securities).sha be                  profitable to the SystarG}.or.i,wh!ch is no
                                                                                                                       longer necessary to¯the proper-o.pemtion
     accounts~ except as otherwisespecifically                 credited as r, eceived to>the .funds¯ from
    prodded for herein,..shall-be,those banks,                                                                      ¯ and maintenance thereof, or which may
                                                               which such investment~ were-made;                       be  ’sold.and |ff~sed back to tl’je:-,~xt~nt
    or trust companies,designate~l from time                   vided, howe’ver, that. profit realiz~d..o~.
    to time as such by-th_e Finance Director.                 interest earned on the Constructioh Fund~                such arrangement is permitted,by;.law,..
         Section "t6...P, riority,,of Funds...                relating.to any series of Securities.~ma.y, if              (2),, Paragraph (.$) shall ’not be, con-
         (A)-if’amounts in the’Receivingl Fu~ld,              permitted by law,..be .credited to the                 .strued. to. authorize or permit the sate,
    are insufficient to pro~ide for. the. c.urrent                                                                    lease   or,disposition of any substantial part
                                                              Receiving Fund,at., the option,.,o~ the                 of th~ System.                        ’
    requirements of,’the:.,Operation, arid                    Commissioners :,.
    Maintenance’Fund a~d’.each,lnteresLand                                                                                (3)~_ The City may at all time;"i~ its dis-
                                                                  (D).’.Valuation. . ,           ~" : "~"            cretion alter, repair or .replace. a_n~. b~ ld-
    Redemption F.und:(i.ncludjqg~t.heReserv~ ,                    (,1)_. Inve~tments credited to" any
   Account,, if.,.any,.;therein),,..~then any.                                                                       ings or structures,..make any. ¢.hange in
                                                             Reserve Account shall be valued at lea~t
   amounts or,securities-held in the Surplus                                                                         the local!on of its water mains,.., pip.as,
                                                             a.nnu .ally.on each January’!-, unless other-
   Fund, .the Improv.ement and Extension                     w=se .specified in the Supplemental Action              water supply tunt~els, aqueducts, pump-
   Fund’and ’the-Extraordinary Repair and                                                                            ing stations, and appurtehances thereto,
                                                             providing for the issuance of such
   Replacement ,,Reserve’. Fund sl~alt bet                                                                           and on, buildings or structures therefor as
                                                           ¯ Securities, at_ the market value thereof,               the Commissioners.determine necessary
   credited, or -transferred first,.to, the                 and the City sh~fl withdmw any exce~s
   Operaten ~nd Maintenan~’e,,~.und and-_.;                                                                          for the System. ¯                                 -’
                                                            immediataly, and,. in the event¯ of.a~,defici.t, ¯           (4) The C  ty wil,acquire~~nd.construct
                                                                                                                                                         ’:’          :’
   second,, to.. the particular. Interest¯ and              budget such additional~"del~sits at the.
   Redemption Fun~]~,to:,the_extent.,of the                 beginning, of_the next- succeeding. Fiscal              all extensions,, enlargements, .and ..
  ins~ufficiency therein from th~ aforesaid                 Year-in an amount necessary.to, maintain                improvements to the System Pj;Oml~tly, in
  funds in the order lisIed .... -,                                                                                 accordance with the plans therefor.~. ’.¯
                                                            each Reserve Account_ at. its..Rese~e
       (B) ,ff any principal (and redemption                Requirement. -                                               (E) No Competition. The C,i.ty will not’,
 premium, if any)-of or, interest- on                           (2) Investments in the. Extraordinary..             an.d will not to the exterlt permitted.by law,,
 Securities of the same Priority of L on’ or               Repair and Replacement Reserve’ Fund                     permit others to operate a water suppl~
 any related Ancillary Ob~Jgaiions become                                                                           system that will compete with,the System.
                                                           shall be valued at least.hnnually on each
 due (wheth.e_r on a .stated or scheduled                  July 1 at the cost thereof..                                 IF) Tax Exemption of Seeuritieso The
 date, by reason of call for redemption or                                                                          City will take all action and refrain frorfi
                                                               Section_:18. Covenants.
 otherwise}, and there are insufficient                        The City covenants and represents with              any actioh as is necessary, including pay-
 amounts for the payment thereof in                                                                                ing any rebates to .the United States gov-
                                                          the Holders of all Securities from’ time to
 tntarast and Redemption. Fund estab-                     time Outstanding that s~ !~ng as any                     ernment that r~ay be required by the
lished-for such Securities and’ Ancillary                                                                          Code so as not to impair the tax exemp-
                                                          Securities remain .Outstandng,. as fol-
Obligations after applying payments¯in the                lows:                                                   tion    of the interest on Securities issued as
Reserve Account, if any, establishe~ for                      (A) Ownership and Auth~’it.v.                      tax-exempt Securities from general feder-
such Secunties, then-there shall be                                                                               al and State of Michigan income taxation.
                                                        ¯ City is the la,wfu owner of the System; the                  Section 19. Trustee.
applied to such payment amounts in each                   System is free from any and all liens and
                                                                                                                       (A) Requirement to. Maintain. The
                 13-53846-tjt                     Doc 6644-1
                                                        .encumbrances   Filed  and08/11/14
                                                                                      the City has-good Entered 08/11/14
                                                                                                                 City sh~ll at all22:07:17                    Pagein96 of 98
                                                                                                                                        times maintain.a Trustee
 ~,nce with all of the requirements, duties          be such,an institution wilhng, qualified and                     Section 20. Ancillary Obhgations and
 and’ obligations of the City with respect to        able to. accept the_ trust, upon rea~onab!e                      related Ancillary Obligation Fees and
the System and the Securities and to per-            and customary terms.                                             Expenses may be Incurred In respect of
term such other duties as may be provid-                Any successor Trustee appointed here-                         such Securities ~nd shall be.secured and
 ed in s Supplemental Action; provided               under shall execute and d.eliver to its pre-                     payable as elsewhere provided in this
 that no such additional duties shall be             decessor and the City an instrument in                           Ordinance¯
 imposed on an existing Trustee without ~ts          writing accepting such appointment and                              (b)’ Oth~r limit~tion~’~r~the issuance of
consent, U.S.¯Bank National Association              thereupon sh_a.ll, becom.e, fully vested,~!th                    Securities ~ may be.’ &dded by".Sbpple-
is hereb~ appointed as Trt~stee.,,The                all the powers and duties under0t.h!s.                           mental Action. ’ ’" ’ ’ ....
Financial .Director,~s. authorized to select         Ordinance. Th.e Trustee .if it ceases to act                        ~2l .Coverage,’ Req[l~"e~’ent~. ’:T~’e-,
and appoint any s~Jccessor bank or trust             as Trustee, shall execute,~_ac.know!edge                         coverage reRu rment~ fdr’detern~ining the
compa,n.y to pederm the duties~.~of.,the            ’and, deliver such’,,instrurhe~ts,,of,,con-                       Required Combined Coverage under th~s
Trustee, .-, ..~, . ,> ~. ,, ’ . .~.,,               veyance" an~[’ ,fu~be~.’,as~ur,~c~. ~d                           Section are the following perdenta#es~"’
    ,(B) Resignation, of .Trustee. T~e               sucl~ other things ~s,,rn&y r~a’s~na.bl~" be                     Priorl~ of Securitie~ ;t. ~."~
Trustee may.~esign, by gi~g not less than           ¯ required’for ¯more fully, and,,ce~tain!y vest-"
                                                     ing and confirmi~g’.-ih                                          Senior Lien "Bonds~ :’.:.~.: : ~ :...£.: :.. :120% ..,
60.days’ w~i~en, noticm~ the Ci~. sp~ci~-                                                                             Second Lien Bonds ................ :’....110 ~’o. .
ing the.date when ~uch resignatioq shall             Trustee all the t~usts, .p~we~~’~,~. ~ duties
take effectS,and such resjgaation,,sh&ll             unclear this Ordinance ,anr~-~n~ property                             SRF Jun or;L en Bonds .-:
take effect upon the date .specifie#.in s~h,         h~ d by t un..d,.er th, is,Oi:din~;n..c.~ ~nd s,hall,               ¯ P, ripr. t.ei ?,er -con~urre.ntly .. ~ th’;’th~
notid& provided a successor,trustee.’has             affe~,all ,ar~ounts ow ng to the.Trustee                          iss.uanee o.f.,a ,priority. ,pL Secur tes, not
been appointed, unless.previously.a.suc-             have ¯been,paid n :full ,pay oyer, .assign.,                      enumerated,_~bove,. ~is subsectiqp,,shall
cessor sh~ll have bebn appdiated,,.as Rro-           and del~~e~" t6 the" ~.~e~sor,’:’Tnlstee ’any                     be amended to~p.revide for, the-cov, erage
vided in, subsection, (~). below, ,,in’ which                                                                         ’perce’ntage..for,~J’cb Pr, ioi:it~’ oLSecdi:ities,
event .such ~es~gaation sh~l-~e effect_                                                                                but in n,o,c~e-sha!t,suc6 ~6v,,erag~’pe’r-
immediatelyLon th#. appp~nt~nt’ ~nd ’                                                                                  centa.~ge.~e less tlia~100. S~ich amend-
acceptance of. such .suc~essor,~p[ovided ,                                                                             men~ shall:.not req~jr~,-~."~o~n~’,e~t.,of
fu~her that i1 ~ successortrustee sh#ll not                                                                            Holders of any_ S__ecurities. " ’
have ,been appointed the ~Xustee may                                                                                        (3) .Refunding. Securities. If any
petition a Feud.of compe~ent.junsd~ct~on             tie n s; j) ft,f h~."Cit~’fh era ~ed er~;6 f’~h d e’[~h y-7--!      Refunding Securities are to,be issued to,I
to appoint a successor trustee¯ ~ "7.,~                                                                                  refund .Securities to be Refunded, thel
    (C) Removal of Trustee. T~e Truste~ .            Secudtyholders to the,Trustee, for such.                            Aqnual Debt.Service to be used for_ deter-,
shall be removed ~a~ t~me by an i~stru-              costs and:,e.xpens~s~,.sh,all b~ pai,~,.by the                      mining.t.he, Required~Cpmbined.Cpverage
                                                     Cii~ toi-the,.~r, ustee or-. such-~Securi.ty-.
  merit or concur~ent-instru~#~t~ i~ writing,                                                                            shall ’b~ the ,Ann’uaI.De~t Service on"the:
  filed with the Trustee and ~the Ci~, and                                                                               Refuhding Sec~:iti~s a;qd-not-the AnnLlaF
                                                     the. first:ila~t~’ce~ fr‘o~’-the, Net
  .signed by the,.Nol~e~s~f a ~ajori~ in                                                                                 Debt ,Service        on ..the ’Secud(ies..t6 be~
  principal amo~4t,r~ft~e, outstanding                                                                                   Refunded.¯.,~,, -..., - . .:, .-" ’.,.
                                                     makir~g- the ~,,ti~&Elsfer~’ and ~Ieposit~
  Secur ~ie~. I~&d#ition ~lo£g as no#v#nt                                                                                   (C) "Ne~ MotJey" and R~funding.
                                                     requ re~" by-’S e.’ctio~:’,l 2 .t~ el. Interest, and
  of default exists under the Ordinance the                                                                                 (!) General’,’Authori~. ,The-City may,
                                                     Redemp.t.oO.,:ri,.Fu,nds ,.?, (including ,, the
  City, upon 6d ~~ n6t~to the Srustee .              Fieserve-Acco,,unt, if spy, therein), ,and, to                     iesue Ad~itisnal Securities of any’P.riority,
  shall ha~ {he ’rig6t ~ ~m~-the’~Truste~.                                                                              of Lien. for~e.,p,~ir~,, exteh~ions, enlarge-i
                                                     the e,xterlt,,th, .a!’,s.u.ff .c.en.! a.mou~t,s ’a~’e not           ments, ’~n~ !rrit~r.oye.ments to t.he System’
  by-~n ~tr~t O. ~rting ~il~d w~h.,th~--             available-,.-f~orm, the,.Revenues ,,therefor
  Truste~,, :~b~, "’-, "~:~c,~" -7,,.’;, . ~ "~.                                                                         (~ncluding .repaying amounts-,withdrawni
    . (D), ~pRpi~tment of.and Transfer ~o                                                                               from t.he ..E.xtraord.i.n, ary,:.Repai.r.,; and
                                                      -~(.F) Advance, ment~,~o~,~. Costs ,’                              Re, pla~e,rne~’t Reserve,, Fu’nd),. ref~ndihg
  Successor ¯Trustee, :If, the ~r~ste~ ~s~all.       ~’p. en~ses. ’ln t~e e~ti,},’that’gen’e?,~l’funds
  rffsi~n or-sball"b~,"re~,g~d~-dr.~b’~lh                                                                               all or a part.of ahy O’dt~tanding se~:urities.
" beco~e.’,i~a~le~f a~i~~, or ~sball-b~                                                                                 aqd - paying ~,i!h...e,..~o.,s_t.s~, .q,f-~ issuin~"~ch~"
  a~j~ b~n~pt~,i~lve~,,~or~’,i~ a ~                                                                                     Ad~d. it] onal.’:S ~.~.~.riti,e. ,s,: i ,nclu .d!n~.,,del~ osi{.s,,
. r~c~i~e ~’,-li~ ~r ,~s~Va~o ~,’~the~                                                                                  if,an.y,, to Be .m~..d~ t~.~.qy Rese .~.eiAccount
                                                     annum-,.)#o,m,~the n,fi~st.z .N, et., Rey..e.nue, s,
  Tru~te~ .~.o~,~, i~’~~erty, ; s~ll. be:                                                                               estab ~hed.or. to be, establis~.~d f£r. such
                                                                                                                        Additional., ."~ .~e c .~r~t[~s. _,~ 6 I’,:"; a~ y’~-
  ta~e c~a~ge:b ~:~ir~( of the ~rbFte~, 5r of .;
  its pro~ff~,:~ successoF~be                                                                                 C6m6ined C~v~r~ge
                                                       Interest’~,nd R~de*r~¢ti6~ .F~rtds.i)nbi~ding
  app6 nted-6~,the ~ot~er~ of ~,~ajor ~ of.,                                                                   Project, Neb,Revenues ;-Test’.contained ’in"
                                                      the ~Resff~,ve’..AccoLm{,’-i~ ’anyi; ~h,eri~i6,}
  aggre~’a~ p~ncip~ a~ou~ of S~ur’ti~s~,               ( ) p’a~i"n~ the"f’rust~or,S~curit~ho.lders’          ¯ subsectio~,-C.(2i~;bel6w~i’.~:,the ,Historical
  then outstand ng, ,in,~the~ case, of                 as provided iq,su’6~ti’~n i6)," , J,..                  Ne.t. Re~er{ues Tes.t c,o.n,taine_’d !~ subse,c-’
  by the H~lde~s; or.~’~e:Cit~, ih ,t~.~ase.,                                                                 tionoC(3) bale.w,. Tl~e:de.te~,m.!nation in a
  of rem~v~’~b.ythe C~, ~y aninstrUment or                (G)~,Reiianc’e     of.,Trustee;:Standaid       of    Supp     emental’, Adtion the, t- the,re will. be,
                                                       Care~-Th~ TrL~stee,’~i~-.~uthorized,to:.act in          Require~ .Com.bi,ned Coverage upon the
  cd~curr~ inst(~meats in writing ~f such              reliance upon the"sufficie~cies, correct-
   Holders~ p~ov~e~ b~ever, that in ~¯case.                                                                    issuance, of .such "AdditionalSecurities
                                                       ness,, g.enuin~ness, or validity .of-- any              shall be conclusiye. " ¯ . ,,- _
  of-such vacanc~,,th~ :Finance Director               i~strument or document’ or-other writing
   shall fo~hw~ appoint &Trustee, provided                                                                      " (2) Projecte,,d. Net Revenue#. Test. For
                                                       submitted to it hereunder ’and shall have
   5o event, of deta~t ,#xists, und#~’.,the                                                                    purposes of,, determir~ing the. Required
                                                       no   liability with respect   tm   said  matters.       Coverage Reqdirement, the’nuraerator is
   Ordinance, to.fill such,vacancy unless and         The Trustee shall no..~,be liable, for any              the proje~:ted Net R, ev~nues of the
   until a s~ccessor Truste~:~all be appoint-          error in judgment o~’.an~ct ~on’e or omit-
   ed by .~he Bondholders. At..any ~me, ~he                                                                    System for the.. then. current or the next
                                                       ted by t in.good fa t~.. I.~the event¯of .any
   Trustee ~ay substi~t~ any &ffiliate, sub-                                                                   succeeding. Fissal..Year,-and the denomi-,
                                                     ¯ dispute, or.question arising hereunder the              nator is the, maximum cerhposite.Annuaf
   sidiary, or successor..in interest a~er a           Trustee.    shall.not;be,liable it it acts or  takes
   merger er consolidation in any and.                                                                         Debt Service in any., Fiscal Year ca
                                                       no action in ~,ccorda.nce ,.with the opinion
   capacities t6 which it is appointed h~re-                                                                   Outstanding Securities and the Additional
                                                     , of’its legal counsel:¯ - -,
   under as .ong as ~he’enti~ sp substituted-                                                                  Securities to be issued.
                                                           (H)  .indemnification    of Trustee.    In  the         (i) Projected Net Re~en~es may
   is qualified to accept such appointment             event the require~ percentage of
   pursuant to" all applicable statutory and           Securityholders shall direct the Trustee ,in            include 100% o~,the estimated increase in
 regulato~ requirements, and any require-                                                                      Net Revenues to accrue as a result of thin
                                                      ,writing to exercise one or more of the                  acquisitiod of the. rep&ii’s, extensions,
   ments contained in this.Ordinance. The~             remedies specified in this Ordinance or in
    rights, duties and substitution of the.                                                                    enlargements and-improvements to ’the
                                                       Act   94  the  Trustee   s~hall_,b.~,    under    no    System to, be, paid. for in whole or in part
   Trustee ~hall be., governffd by, and                ob!igation    to proceed   to enforce   or compel      from the proceeds’ of the Additional
    strued in accordance with-the laws of ~he          the   performance     of the,duties   and   obliga-
    State. If the Trustee substitutes a~,affili~te     tions of the City¯ under this Ordinance                 Securities ....... -
    or subpidia~ as Trustee or c6nsolidmes~                                                                        (if) In proje~ti~,~.~Net Reve,nu~s, the
                                                        unless and until, the NoJders shall have               City shall.engage¯the services of and be.
    merges or.conve~s.into,,Orr.transfers,all or~       reasonably     indemnified   the  Trustee    for all
    substantially all of its corp6~ate tru~t,busi- .                                                           guided     by. a consultant of riational reputa-
                                                       estimated costs and.expenses in the exer;--
    hess to,.another corporation or other enti-                                                               tion    for  advising ..municipalities witl~
                                                       cise of said remedies, including neces-                 respect to, setting rates and charging .for,
    ~ entitled to conduct ,said trusteeSusi:           sary   attor.neys’ fees.
    ness under applicable IKw, the successor                                                                  the    use   of’water supply systems. ,
                                                           Section 20, Additional Securities;                      (3) Historical Net, Revenues Test. For
    without #ny fudb~r act shall be:tbe suc-
    cessor of t~e.~rus~ee hereunder, without               (A) Limitatio~ts on Indebtedness.                  purposes of determining the Req6ired
    th~ execution or filing of any paper or any            The City shall’ r~ot incur any obligations         Coverage ’Requirerderit, the numerator
    further act on the pa~ of any of the parties        p~yable from Pledged Assets except for                the actual Net Revenues of the’System for
 ’ hereto, an~h ~g to thec6nt~ary contain~d             Secured Obligations, and¯no obligations               the immediately preceding audited Fiscal
    herein no~ithstandi~g.                              of the City shall be secured by ~ lien on             Year’and the denominator is the maxi-"
       Any successor Trustee shall be a trust           Pledged Ass .ets except as provi, ded i,n this         mum composite Annual Debt Servide in
    company or bank in good standing, within            Ordinance.                                            any future’Fiscal Year on Outstanding
                   13-53846-tjt
    the State, acceptable        to th~ FinanceDoc 6644-1             Filed
                                                           (B) Issuance          08/11/14 Entered Securities
                                                                            of Securities.                      08/11/14           22:07:17
                                                                                                                             and.the                     Page
                                                                                                                                     Additional Securities     to . 97 of 98
    Director, provided no event of default                 (1) Limitations 9n Issuance. -                     be issued.
    exists, and having total reoorted capital                                                                      (I Instead of the immediately ereced-
                                                             (2) provide for the Legal investments            any premtum payable on the redemption
   than-sixteen months prior to the date of              that. are Permitted Investmerltg for the            thereof, or            "
   dehvery of such Additional Securities.                defeasance, of such Securities, but no                  (b) change the Prionbj of Lien of suc~
      (ii) If any change ~n the rates, fees and          such Permitted Investments may there-                Security or deprive such Holder of the.
   charges of the System has been autho-                 after be changed except as provided in               right to .payment of such Security from
   rized at or prior to the date of sale of such         Section 18; and                                      Pledged Assets.
   Additional Securities, the Net Revenues                   (3) provide for the consequi~nces’ of               (2) It shall not be necessary for the
  for the particular preceding .FIscat’,Year             such Securities being defeased. "                  .consent of the Si~cufityholders under this
   shall be augmented by an amount reflect-                ¯ (C) Except as otherw §e prm, ided in a           Sechon-to,apl~rove .the particular form of
. ing the effect of such change had the                  Supplemental Action: , ;~.              .           any proposed A~t of Council bu.t it shal! be
  System’s billidgs during such Fiscal Year                 (1) th~ Legal. Investm~nt~t~~i~th~               sufficient if such consent shall appro~,e
  been at.the increased rates.               -          defeasance of such’ Securitie~"a~’e the              the substance thereof. The consent of the
      (iii) Net Rev, enues for. tl~e par~ul~r’                                                               Holder of a Security shall bind ~11 Holders
                                                         Permitted. investments th’erefor;,and ,’., ~
  preceding audited Fiscal Year’~iso may be                 (2)...the statutory li~h h~reirL~:~ferr~d to     of any Security for which suck Security
  augmented by 100%’of the estimated ~                  in "Section 5 shall be’ terminated., with            was the predecessor,.. ’-, .
  increase in Net Revenues to accrue as a ’                                                                      (~) ’F~r the purpose of acquiring con:
                                                        resl~ect:~t~ "defe,~sed Se~u’rities, ’t~e-,
  result of-the acquisition .of the ,[.epairs,          Holders of such defeased’Securities shall            sent for the’purposes bf this Sectlon,~the
  extensions, enl’argements and i~prove-.I              ha~e’ ~-~o.. further rigl~ts under:,ith s            consent of,~a ~Securityholder.~,cqubi~g-a ,.~
  men~ to the 3ystem to be paid for ’in]                Ordii][z’~,~’.exce’~t for p~v~ne~t frb~n             Security ; irL~’an.,off~ri~g...-remart~’~fi_r~g
  whole ~r in pa~t from the proceed~ ~f such            deposited funds and, r~gi~rht~ofi~’and I             which:the ~ffed~g or re~’~rketin~"~iT.~di~r- I
  Additional Securities,and 100% df :anyi               replacement of such ~urit~s,, ~d.’such               or^dth~r, disclosU t~’ ~d,~c"d~fier~p’ ferry
  a~quisitior],--e~-te~sior~", or4.~c~r~ection, J       Sebur~es shall no’ IcY’get be considered ’           closed :the.te~ms of.such ,am, endment or,
  Which was mad~,~b.~e.qu~i~t’to t’he end 6f /          to be Outstanding under this Ordinahce, ,           supplerfient shall be considered obtained
  thb::,~aCtic~lar preceding,,al:J~litad:~Fisc~.l,.~                                                        as Jr..such" consents were beih, g:~olicited
   y~z~-.;.~--;..,.:~:n;’~,%?:~,~,,,:-’..~:-:~:~..",;        Section 22. Amendments; C~n~em
                                                                                                            under this Section, ’but no acti~at con~ent ’
      (iv) With res~p~ct-to aL~gmentatipn of              of Securi~holders ....                            shall be required, and no more than .hne
   Ne.t R~venues,.th~ Cit~.shall,engagb..the .              . (A) Amendment without Cons~nL ,,,             such disclosure shall be requi’red..- ¯
   services of.and receiving’the cerflflcat~ of ’,            (1.) This Or~in@nde may. be amended
                                                          or supplem~ntad from time to time by.Act              (4) Promptly after a’n Act..of .Council
   a consultant" of ’na{ional rep’uta~tion fo~                                                              amending this Ordin&nce pursuaht to th=s
   advising municipalities,with respect to set-           of Oou(cil!ot Supplem~n~l Action without.
                                                          con~ent of the Holders o~ S~cur t es;..,          Section has. obtained t_he-requisite con-
   ting.ratas and charges fo’~’-the use of w&tar’                                                          sent, the Finance Dira~tor shall cause the
   supply systems regarding the existence.of¯                (a) To issue S~curities of any priori~        Tran_~fer Agent_to noti~, by’mail, at their
   such cond~tion~’~.~ .’-" .., " ~;’-~: ,.- ,.’, - :.,      (b). ,To ~dd to.t~e~5~t~ and’~gre~-
                                                          ments of the Ci~ in t~is Ordinance con-           addresses shown in.the Registry, o~by
      (v) Aud ted-"~ hancia "statam~nts ,~ay
                                                         tained,    other covenants .ahd-agree~en~          publication, Holders of all Outstanding
   be re ed ul?o~ f no &ugmehi~.tion of Net
                                                         thereafter to b~ ’~bserved ~r.te surrender         Securities.affected by such amendm,ent,
   Revenues Is required.- --. ,, ~: ,..: . ..                                                              of the general,tertns of.the substance of
      (D) Debt.SerVid~ .Reddctio~,.--. .An                restrict ~r limit any rigbLor power rese~ed
                                                         to or conferred upon th~’,.qi~ (ihclud)hg         such Actbf Council. Filing notice pursuant
   Additional Meahs, of’Refunding. "                                                                       to the continui,ng ’disdlosure agreement in
      The..City. may, issue ,Additional                  but not ,limited th,;th~ ~i~bt_ to issue          respectof such S~urities shall constitute
   Secur t es of ~’ny, Pr or ty ,of ~ien witho’ut        Securities ~r .inc~(~h~’ .~Secured.               sufficient notice.for.the purpose~ of this
   regard to,Section 20C for"r.~.f,undi0g all or                                                           subse~tioh~: ": ..... " .... "- "
   part of .Securities th~,~.’Outstan~ing and                                                                   (5) No, a.men..d.ment..may
   paying.,costs of .i§~uir~g the-.Refundihg                 (c) To.make such’prb~y[si~=~ [~r
                                                        pose of curing "any a~big~i~,                      under thi~ Sec{io~’-22(B) which a~fects the
   Securities, includin~,.depo~its whiqh may                                                               .rights. of."tt~#,.~i~surer, ~r ~obligee, of a
   h~ade to’an~’-’B~e~ve: A~oun~.,estab-                 correcting or’supplementing any ~bfective
                                                         provisions ~ofita 5e~ n~th s O}d n~#he or         Fin&nci~l ,F&~ili~_ or: c’ou’nte_rpart~i .to’ a
" lisbed o’~,’;:to.q~e~.~.s~t~’blishe~ .:f~.’; ~uc.h,.
   Addit~o~al;’i’,~ec~ntie~.",, or..;;,any.=.: oih~r      n regard to ma~ers-or..~uest=ons ansmg ~         Hedge :~ith6u|;its"~’~ns~{. ’:’ ,,.’,~,

     (1}~:th~° cb~’bine~ An~l D~bt,S.er~ice,’
  coming dd&’ ih the duF~’5~~ Ei~bal~Ye,.a,r,and                                                            provisi~’~’bf, tihi~ Ofdin.ar~c~5’~.ll,b’e.,~h’e d ,
  each~ FiscaLYea~. ,~h~r. ’~ntil :m~turity                                                                 invalid .the ii~valEti.ty bf~u~hkectibh !5~ra-.
  on.(A) tb~ ’Additoha! S~curities.and (B)                                                                  grapl3, clause or prov~s,o~ sliali not affei~t
- g v ng effect .’ t~ ..the’; ~’efu~’din~, ,        Ordinance~ i~ ’a@ r~’~t Witk-r~ard; t~
                                                    Secur t es,of coo o~ too’(6 Pri~ t~s.of ~ieq’           any other provikio.n,of.th ~ .Ord na~de;’~,
  Outstanding .,’un,r$(dnd~,LS~Eurities ’of                                                                    (B)-C~pti’on.s ~f- ~cti~’ns~n~: ’l~ra~ "
                                                    so Iong¯&s such amendmeht does,
  equal and.hjgh,.e.r Pr, iorit~’5,f.~.L.ie.n.’ !s:!,e.ss
                                                    ~aterially adder~ly’affeht th~ Holder~..of              graphs of this (hrdinanc~,are~f~rni~hed’for
  than         ",- . .." . .,., ~ ,o" .                 ,                                                  the cbnvenience of ref~r~;nbe’hnly ~n~ are
  -. (2) the combined ’,~nr~uai Del~t Service       Outstanding Securities~,.,. ~.’...,-., - ".             not pa~’hf, thisXOrdinahc~:~;. ’.
  corn ng due n the chrren.t F, iscal Year and         (2) Nb Hqide~: df S~cbritje~" of~ a
                                                    Priori~ of Lien shall be ¯"materially                      Section, 24. _P, ublication arid
  each FiscaLYear thereafter until maturity                                                                 Recordation.
  on aEsecurities of an e~lual and higher           adversely affected" for the purposes of                    This Ordinance shall be-published in
                                                    this Ordinance by the. change of any cov-
  Priority of Lien., without givin, g effect to t.he                                                       full in the Detroit Legal News, a news-
  refunding.                                        erage percentage, established, for
                                                    Securities of any other Priori~ of’ Lien,              paper of general circulation in. the City
      Section 21. Defe=~sanca.                                                                             qualified under State law to publish le’gal
      (A) A Security. is "defeased" for pur-        and no amendment of or supplement to
                                                    this Ordinance that provides for qr facili-            notices, promptly after its adoption....
  poses of this Ordinance if:                ,~ .
                                                    tates the issuance of Securities or incurs              , Section 25. Effective Date..
      (1) there has been deposited in t(ust                                                                    This Ordinance shall be effective imme-
  sufficient cash and Permitted Investments         other Secured Obligations of, in eitEer
                                                    case, of any Priori~ of Lien ’shall "materi-           diately.
  constituting Government Obligations, not                                                                 Approved as to iorm:
  callable by.the issuer, the principal of and     all~ adversely ~ffect" ~he. ~olders of
                                                    Securities of any other priori~.of Lien for                Adopted as follows:
  interest on which mature at the times and
                                                    the purposes of this Ordinance so Ion~ as                 Yeas ~ Council Members Bates, S.
  in the .amounts, without the reinvestment                                                                Cockrel, Collins, Tinsley-Talabi, and
¯ thereof, necessa~ to pay principal of and         such amendment does not change any
                                                    coverage percentage estabfished for such               President Pro Tern. K. Cockrel, Jr. ~ 5.
  interest on such Security to its maturity,                                                                   Nays -- Council Members McPhail,
  or, if called for redemption, to the date         Priori~ of Lien or is not an amendment
                                                    that requires the consent of the Holder of             and Watson --2. .
  fixed, for redemption, together with the                                                                    *WAIVER OF ~IECONSIDERATION
 .amount of the, redemption premium, if            .such Securi~ unde~ Section ~B(i), or (ii):             (No..1), per/~stio~efore Adjournment, ,
  any; provided, however, that the sufficien-          (B) Amendments-With Consent.
                                                       (1) With the con~enbof the Holder’ of                  Title to the Ordinance was confirmed.
  cy o~. the deposit to effectuate,the defea-
  sance of a Security shall have bffen veri.-       not less than 51~/o in p~in~i~a{, amount’of
  fled by a nationally recognized.accounting        Securities then Outstanding affected
                                                    thereby, the. Ci~ may from time to time
 fir~) if such-~ecurity i~to ~’~ redeemed           and at any time amend th ~ .Drd nanc~Jn
 prior to maturity, irrevocable instructions        any manner by Act of Council; provided,"
 have been given to the Transfer Agent to          that no such amendmeEt shall:, _ . . ,
 call such Security for redemption; and                (i) ’reduce the aforesaid percentage of
    (3) Nothing in this subsection (A) shall        Holdersof Sec~itie~ reqdired to congent
 affect any lien securing Ancillary                 to an amendment to this Ordinance with-
 Obligations except as,:provided in the            out the consent of the Rolders of all
 &greement with the obligee 5f such                 Securities then Outstanding, oi
 Ancillary Obfigations.                                (ii) without the consent of the Holder ~f
    (B) A Supplemental’:,~ction ’~’roviding         each Secufi~ affected thereby:.
 for the issuance of Securities may:                   (a) extend the fixed mat~ri~ pf such
    (1) provide- different means                   Securi~ or reduce the rate of interest
 defeasing    such Securities, andDoc  such        the(con     or e~end the time of payment of
 means may 13-53846-tjt
               be in addition to ,or in lieu of6644-1
                                                    interest,Filed
                                                               or reduce08/11/14
                                                                          the amount of theEntered
                                                                                              prin- 08/11/14 22:07:17                            Page 98 of 98
 the means set forth in subsection                 cipa~ or redemption premium thereof, or
